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     Trust
 7

 8                              UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

10

11   IN RE:                                          CASE NO.

12   IT Environmental Liquidating Trust,                 IT ENVIRONMENTAL LIQUIDATING
                                                         TRUST’S NOTICE OF MOTION AND
13                    Movant.                            MOTION TO APPOINT INTERIM
                                                         SUCCESSOR LIQUIDATING
14                                                       TRUSTEE PURSUANT TO TRUST
                                                         AGREEMENT APPROVED BY
15                                                       BANKRUPTCY COURT;
                                                         MEMORANDUM IN SUPPORT OF
16                                                       MOTION

17                                                       Hearing Date:
                                                         Time:
18                                                       Courtroom:
                                                         Judge:
19

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                                                                 IT ENVIRONMENTAL LIQUIDATING
                                                                TRUST’S MOT. TO APPOINT INTERIM
      CASE NO.
                                                                SUCCESSOR LIQUIDATING TRUSTEE;
                                                                                            MPA
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                                                                                          IT ENVIRONMENTAL LIQUIDATING
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      CASE NO.                                                        -i-                SUCCESSOR LIQUIDATING TRUSTEE;
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 1         NOTICE OF MOTION AND MOTION TO APPOINT INTERIM SUCCESSOR
                             LIQUIDATING TRUSTEE
 2

 3   TO INTERESTED PARTIES AND THEIR ATTORNEYS OF RECORD:
 4            PLEASE TAKE NOTICE that on _______________ at _______________, or as soon
 5   thereafter as the matter may be heard, in the United States District Court, Northern District of
 6   California, ______________ Courthouse, located at
 7   ______________________________________________ before the Honorable
 8   ___________________________, Movant IT Environmental Liquidating Trust will, and hereby
 9   does, move the Court for an order granting Movant’s Motion to Appoint Successor Liquidating
10   Trustee (the “Motion”).
11            This Motion is based on the Notice of Motion and Motion, the attached Memorandum of
12   Points and Authorities, related documents filed in connection with this motion, the accompanying
13   Declaration of Peter Bailey, and such other written or oral argument as may be presented to the
14   Court.
15                         STATEMENT OF THE ISSUES TO BE DECIDED
16            1.     Whether the Court should fill the vacant trustee (“Trustee”) position of the IT
17   Environmental Liquidating Trust in accordance with Section 5.7 of that certain IT Environmental
18   Liquidating Trust Agreement, dated as of April 30, 2004 (the “Trust Agreement”);
19            2.     Whether, consistent with Section 5.7 of the Trust Agreement, the Court should adopt
20   procedures for the appointment of any future Trustee in the event future vacancies in the trustee
21   position of the IT Environmental Liquidating Trust arise.
22                        MEMORANDUM OF POINTS AND AUTHORITIES
23            The IT Environmental Liquidating Trust (the “Trust”) files this Motion to Appoint
24   Successor Liquidating Trustee Pursuant to Trust Agreement Approved By Bankruptcy Court (the
25

26
27

28
                                                                    IT ENVIRONMENTAL LIQUIDATING
                                                                   TRUST’S MOT. TO APPOINT INTERIM
      CASE NO.                                       -1-           SUCCESSOR LIQUIDATING TRUSTEE;
                                                                                               MPA
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 1   “Motion”). 1 In support thereof, the Trust states as follows:2

 2   I.       INTRODUCTION

 3            The Trust is organized under the laws of the State of California. The Trust is governed by

 4   the Trust Agreement, dated as of April 30, 2004, entered into by and among the IT Corporation, IT

 5   Lake Herman Road LLC, and IT Vine Hill LLC (collectively, the “Prior Debtors”) and Brian

 6   Fournier, solely in his capacity as Trustee thereunder (the “Original Trustee”). The Trust is

 7   overseen by the California Department of Toxic Substances Control (“DTSC”). Unfortunately, the

 8   Trust’s former Trustee, Mr. Kishnani, recently and suddenly passed away, leaving a vacancy in the

 9   Trustee position which is interfering with the Trust’s ability to protect California’s environment.

10   The Trust seeks to fill the Trustee position (“Successor Trustee”) under these emergency

11   circumstances in accordance with the terms of the Trust Agreement.

12            Because the Trust was established and is administered pursuant to the laws of California, is

13   supervised and administered by the DTSC, and is subject to the jurisdiction of the Northern District

14   of California, the Trust has filed this Motion before this Court, with the support of DTSC, to (i)

15   seek approval of an interim Successor Trustee (Richard Swanson) while DTSC considers a

16   permanent replacement for the position and (ii) establish procedures for the appointment of a

17   permanent Successor Trustee (and any successors thereto) to minimize the burden on the Court

18   going forward.

19   II.      JURISDICTION AND VENUE

20            Pursuant to 28 U.S.C. §1334(b), this Court has jurisdiction over a civil proceeding “related
21   to [a] case[] under title 11”. This is a miscellaneous proceeding to appoint a post-confirmation

22   trustee of a liquidating trust established pursuant to a chapter 11 plan approved by the Bankruptcy

23

24   1
       Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to
     them in First Amended Joint Chapter 11 Plan for the IT Group, Inc. and its Affiliated Debtors
25   Proposed by the Debtors and the Official Committee of Unsecured Creditors (the “Plan”). The
26   Plan is attached hereto as Exhibit A. The Trust Agreement is attached hereto as Exhibit B. The
     Confirmation Order is attached hereto as Exhibit C.
27   2
       Certain facts and circumstances supporting the relief requested herein, including DTSC’s
     support of the appointment of Richard Swanson as interim Successor Trustee of the Trust, are set
28   forth in the Accompanying Declaration of Peter Bailey.
                                                                       IT ENVIRONMENTAL LIQUIDATING
                                                                      TRUST’S MOT. TO APPOINT INTERIM
         CASE NO.                                     -2-             SUCCESSOR LIQUIDATING TRUSTEE;
                                                                                                  MPA
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 1   Court (as defined below). Therefore, this Court has jurisdiction over the proceeding.

 2          Article III, Section 3.4 of the Trust Agreement (Exhibit B) expressly provides that this

 3   Court has jurisdiction to “administer[]” the Trust:

 4          The IT Environmental Liquidating Trust will be established and administered pursuant to
            the laws of California and subject to the jurisdiction of the U.S. District Court for the
 5          Northern District of California.
 6   Appointing a post-confirmation trustee is a matter of administration of the Trust.

 7          Venue is proper in this district pursuant to 28 U.S.C. § 1391.

 8   III.   BACKGROUND FACTS

 9          On January 16, 2002, the Prior Debtors filed a voluntary petition for relief under chapter 11

10   of the United States Bankruptcy Code in the United States Bankruptcy Court for the District of

11   Delaware (the “Bankruptcy Court”), which cases were jointly administered under In re The IT

12   Group, Inc., et al., Case No. 02-10118-MFW.

13          On February 9, 2004, the Prior Debtors and the Official Committee of Unsecured Creditors

14   proposed the Plan. And, on April 5, 2004, the Bankruptcy Court approved the Plan pursuant to the

15   Order Confirming the First Amended Joint Chapter 11 Plan For the IT Group, Inc. and its Affiliated

16   Debtors Proposed By the Debtors and Official Committee of Unsecured Creditors [Docket No.

17   4935] (the “Confirmation Order”) (Exhibit C). An integral part of the confirmed Plan included

18   the formation of the Trust pursuant to the Trust Agreement. See Plan (Exhibit A, at p. 24)

19   (“Pursuant to section 1123(b) of the Bankruptcy Code and Bankruptcy Rule 9019, entry of the

20   Confirmation Order shall constitute approval of that certain IT Environmental Liquidating Trust

21   Agreement”).

22          The Prior Debtors established the Trust for the purpose of, among other things, operating

23   and providing for the closure and post-closure management of four landfills in Northern California

24   known as Montezuma Hills Facility, Benson Ridge Facility, Vine Hill Complex, and Panoche

25   Facility (the “Landfills”), and liquidating and distributing the proceeds from the assets of the Trust.

26   The Trust Agreement was reached with DTSC in connection with that certain consent order

27   between IT Corporation and the State of California in California v. International Technology Corp.,

28   No. 509105 (Super. Ct., June 27, 1989), as amended by stipulation, September 30, 1999, pursuant
                                                                     IT ENVIRONMENTAL LIQUIDATING
                                                                    TRUST’S MOT. TO APPOINT INTERIM
      CASE NO.                                        -3-           SUCCESSOR LIQUIDATING TRUSTEE;
                                                                                                MPA
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 1   to which the Prior Debtors consented to certain terms under the California Hazardous Waste

 2   Control Act, California Health and Safety Code Section 25100, et seq. That consent order required,

 3   among other things, the closure and post-closure care of the Landfills as well as financial assurance

 4   with respect to these obligations.

 5            DTSC was designated the regulatory agency overseeing the post-closure care of the landfills

 6   by the Trustee in the name of the Trust.

 7            Pursuant to the Plan, Confirmation Order, and Trust Agreement, Brian Fournier was

 8   appointed as the Original Trustee of the Trust. In December 2004, Mr. Kishnani replaced Mr.

 9   Fournier as Trustee of the Trust by first Amendment to the Trust Agreement, dated as of December

10   6, 2004 (see last two pages of Exhibit B), and assumed all of the duties and responsibilities of

11   Liquidating Trustee under the Trust Agreement and the Plan.

12            The chapter 11 Case in front of the Bankruptcy Court then closed in 2009.

13            On December 15, 2020, Sunil S. Kishnani passed away. Unfortunately, because of Mr.

14   Kishnani’s recent, sudden passing, the Trust must now seek to fill the Trustee vacancy.

15   IV.      REQUEST FOR RELIEF

16            A.     The Court Should Appoint Richard Swanson as Interim Successor Trustee
                     Pursuant to the Trust Agreement.
17
              Pursuant to the Trust Agreement and the Confirmation Order approving the Trust
18
     Agreement, the Court is required to fill any vacancy in the Trustee position. Specifically, Article
19
     V, Section 5.7 of the Trust Agreement (Exhibit B) provides that:
20
              In the event the Trustee position becomes vacant, the Trustee vacancy shall be filled by the
21            Court [defined as the District Court for the Northern District of California] based upon
              recommendations submitted by the DTSC.
22
              Recognizing the emergency circumstances presented by the vacancy in the Trustee position,
23
     former California Attorney General, Xavier Becerra, on behalf of DTSC, reviewed the
24
     qualifications of Richard Swanson and recommends Mr. Swanson for the position of interim
25
     Successor Trustee while DTSC considers a permanent replacement Trustee.3 See December 28,
26
27
     3
      On March 19, 2021, Attorney General Becerra assumed the office of United States Secretary of
28   Health and Human Services in the administration of President Joseph Biden.
                                                                     IT ENVIRONMENTAL LIQUIDATING
                                                                    TRUST’S MOT. TO APPOINT INTERIM
         CASE NO.                                     -4-           SUCCESSOR LIQUIDATING TRUSTEE;
                                                                                                MPA
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 1   2020 Letter from Andrew Wiener, Deputy Att’y Gen., for Xavier Becerra, Att’y Gen., Cal. Dep’t

 2   of Justice, to Peter Weiner, Attorney for the IT Envtl. Liquidating Trust (Exhibit D).

 3          Accordingly, consistent with the recommendations of DTSC and the State of California, the

 4   Trust requests the Court enter an order pursuant to the Trust Agreement (Exhibit B), Article V,

 5   Section 5.7, including but not limited to, appointing Mr. Richard Swanson as the interim successor

 6   liquidating Trustee effective nunc pro tunc to December 16, 2020.

 7          B.      The Court Should Establish Trustee Appointment Procedures.
 8          To minimize the future burden on the Court, and to effectuate an orderly and efficient
 9   transition of the administration of the Trust, the Trust requests the Court establish the following
10   Trustee appointment procedures to apply in the event future vacancies in the Trustee position arise,
11   consistent with Section 5.7 of the Trust Agreement:
12                  a.     In the event the Trustee position becomes vacant, DTSC will recommend (i)
13                         a Successor Trustee and (ii) any modification to the compensation to be
14                         received by the Successor Trustee from the compensation received by the
15                         predecessor Trustee.
16                  b.     Upon DTSC recommending a Successor Trustee and any modification to the
17                         compensation to be received by such Successor Trustee, DTSC will notify
18                         counsel to the Trust and the predecessor Trustee (if applicable) of such
19                         recommendation(s).
20                  c.     If the predecessor Trustee (if applicable) also recommends any modification
21                         to the compensation to be received by the Successor Trustee from the
22                         compensation received by the predecessor Trustee, the predecessor Trustee
23                         will notify counsel to the Trust and DTSC of his or her recommendation
24                         within 10 days of receiving notice from DTSC of its recommendation(s).
25                  d.     Counsel to the Trust will then file a notice with the Court (the “Successor
26                         Trustee Notice”) informing the Court of (i) DTSC’s recommendation for
27                         Successor Trustee and (ii) any recommendation to modify the compensation
28
                                                                   IT ENVIRONMENTAL LIQUIDATING
                                                                  TRUST’S MOT. TO APPOINT INTERIM
      CASE NO.                                      -5-           SUCCESSOR LIQUIDATING TRUSTEE;
                                                                                              MPA
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 1                   to be received by the Successor Trustee for performance of his or her duties.

 2                   Counsel to the Trust will deliver such Successor Trustee Notice to the United

 3                   States Trustee.

 4              e.   If no objection is filed to the Successor Trustee Notice with the Court, and

 5                   there is agreement on the compensation to be received by the Successor

 6                   Trustee, within twenty (20) days of such filing, the Successor Trustee will

 7                   be deemed so appointed; provided, however, that any objection to the

 8                   modification of or disagreement on the compensation to be received by the

 9                   Successor Trustee will not prevent or delay the designation or appointment

10                   of the Successor Trustee, and will be resolved pursuant to subparagraph (f).

11              f.   If any objection is filed to the Successor Trustee Notice with the Court,

12                   objecting to either the identity of the Successor Trustee and/or any proposed

13                   modification to the compensation to be received by the Successor Trustee,

14                   the interested parties will confer and attempt to agree on the identity of

15                   and/or the compensation of (as applicable) the Successor Trustee. If the

16                   parties agree on the identity of and/or the compensation of the Successor

17                   Trustee, the parties will submit a stipulation to the Court, in the manner

18                   prescribed by the applicable rules of the Court, indicating the agreed-upon

19                   Successor Trustee and/or compensation for the Successor Trustee. If the

20                   parties cannot agree on the identity of and/or the compensation for the
21                   Successor Trustee, the parties will submit, in their discretion, motions

22                   supporting their respective recommendations to the Court, in the manner

23                   prescribed by the applicable rules of the Court. The Court will, pursuant to

24                   its authority under Sections 5.7 and 5.5(c) of the Trust Agreement and in

25                   such manner as the Court shall deem appropriate, appoint the Successor

26                   Trustee and/or impose any modification to the compensation to be received
27                   by the Successor Trustee for the performance of his or her duties.

28              g.   Any Successor Trustee appointed according to the procedures set forth in (e)
                                                            IT ENVIRONMENTAL LIQUIDATING
                                                           TRUST’S MOT. TO APPOINT INTERIM
     CASE NO.                                -6-           SUCCESSOR LIQUIDATING TRUSTEE;
                                                                                       MPA
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 1                          or (f), above, will execute an instrument accepting such appointment and

 2                          will file such acceptance with the Trust’s records.          Thereupon, such

 3                          Successor Trustee will, without any further act, become vested with all the

 4                          estates, properties, rights, powers, trusts and duties of his or her predecessor

 5                          in the Trust with like effect as if originally named in the Trust Agreement;

 6                          provided, however, that a removed or resigning Trustee shall, nevertheless,

 7                          when requested in writing by the Successor Trustee, execute and deliver an

 8                          instrument or instruments conveying and transferring to such Successor

 9                          Trustee under the Trust all the estates, properties, rights, powers, and trusts

10                          of such predecessor Trustee.

11                  h.      If the Successor Trustee appointed according to the procedures set forth in

12                          (e) or (f), above, does not accept his or her appointment within 10 days

13                          following the Court’s order of his or her appointment, DTSC will have the

14                          right to designate an alternative Successor Trustee and the notice and

15                          appointment provisions of (b) – (h) will apply.

16   V.      CONCLUSION

17           Wherefore, the Trust requests the Court enter an order (i) appointing Mr. Richard Swanson

18   as the interim successor liquidating Trustee of the Trust effective nunc pro tunc to December 16,

19   2020; (ii) approving Trustee appointment procedures; and (iii) granting the Trust any other relief

20   to which it may be entitled, at law or in equity.
21    DATED: May 6, 2021                                   PAUL HASTINGS LLP
22

23                                                         By:       /s/ Todd M. Schwartz
                                                                    TODD M. SCHWARTZ
24
                                                           Attorneys for Movant
25                                                         IT ENVIRONMENTAL LIQUIDATING
                                                           TRUST
26
27

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                                                                     IT ENVIRONMENTAL LIQUIDATING
                                                                    TRUST’S MOT. TO APPOINT INTERIM
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          EXHIBIT A
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        IT ENVIRONMENTAL LIQUIDATING TRUST AGREEMENT

                This Liquidating Trust Agreement (the "Agreement") dated as of
 April 30, 2004 by and among IT Corporation, IT Lake Herman Road LLC, IT Vine Hill
LLC (collectively the "Debtors") and Brian Fournier (not individually but solely in his
capacity as trustee hereunder) (the "Trustee") is entered into in connection with the
Debtors' First Amended Joint Chapter 11 Plan of Reorganization dated February 9, 2004
(the "Plan") filed in the jointly administered chapter 11 bankruptcy cases entitled In re
The IT Group, Inc., Case No. 02-10118 (MFW) pending in the United States
Bankruptcy Court for the District of Delaware (the "Bankruptcy Court").

              WHEREAS, on or about April 5, 2004, the Bankruptcy Court entered an
order confirming the Plan (the "Confirmation Order");

              WHEREAS, pursuant to Section 7.10(II) of the Plan, the IT
Environmental Liquidating Trust Assets are to be transferred to the IT Environmental
Liquidating Trust; or "Trust";

              WHEREAS, pursuant to Section 7.10(II) of the Plan, the IT
Environmental Liquidating Trust Funding is to be transferred to the IT Environmental
Liquidating Trust; and

                WHEREAS, the Trustee has agreed to act as the Trustee under this
Agreement and to perform as Trustee upon and subject to the terms and conditions set
forth in the Plan and herein;

             NOW, THEREFORE, in consideration of the premises and mutual
covenants and agreements contained herein, the Debtors and the Trustee agree as
follows:


                                    ARTICLE I
                                   DEFINITIONS

               1.1     Defined Terms. All capitalized terms not otherwise defined
herein shall have the meanings given them in the Plan. All capitalized terms not
otherwise defined in this Agreement or in the Plan shall have the meanings given them
in the Bankruptcy Code or Bankruptcy Rules.
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                           ARTICLE II
            IT ENVIRONMENTAL LIQUIDATING TRUST ASSETS

                2.1    Trust Assets:     The IT Environmental Liquidating Trust shall
consist of the following assets and liabilities:

                       (a) The Post Closure Insurance Policy Assets: (i) the Post
Closure Insurance Policies; (ii) the proceeds from claims paid by the Post Closure
Insurance Policies; and (iii) any interest earned on the proceeds from claims paid by the
Post Closure Insurance Policies, all subject to rights of the California Department of
Toxic Substances Control ("DTSC") under the policies;

                      (b) The Properties: (i) the real property containing the Vine
Hill and Panoche sites which are each owned by the LLCs; and (ii) the real property
containing the Benson Ridge and Montezuma Hills Landfills which are owned by IT
Corporation;

                         (c) The Landfill Assets: (i) all of Debtors' membership
interests in the LLCs; (ii) all real property, personal property, equipment, bank accounts,
and employees associated with operations of the Landfills; (iii) all other funds obtained
by the Debtors from other parties in settlement or resolution of contribution or cost
recovery claims of the Debtors with respect to the Landfills; and (iv) all insurance
polices held by the LLCs or the IT Environmental Liquidating Trust, all insurance
policies held by the Debtors that are associated with the operations of the Landfills, and
all proceeds and interest therefrom other than the Post Closure Insurance Policies; (v)
all licenses, permits (subject to the Permit Transfer provision set forth in Section 7.10(II)
of the Plan) and contracts relating to the Landfills; and (vi) revenues from the operations
of the Landfills or development thereon; provided, however, any amounts owed to the
Debtors under the Post Closure Insurance Policies that cover work performed at the
Landfills that are uncollected as of the Effective Date (as defined in the Plan) belong to
the Debtors; and

                       (d) The Landfill Liabilities: (i) all accounts payable arising
prior to and after the Effective Date associated with the operations of the Landfills;
provided, however, all accounts payable arising from engineering and construction
services requested by the Debtors' environmental manager at the Landfills between May
3, 2002 and the Effective Date and provided by The Shaw Group, Inc. ("Shaw") in
accordance with that request shall be payable by the Debtors and not the IT
Environmental Liquidating Trust; and (ii) all cure obligations associated with the


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executory contracts and unexpired leases that are assumed by the Debtors and assigned
to the IT Environmental Liquidating Trust in accordance with Section 11.1 of the Plan.
Nothing herein shall be deemed an admission by the Debtors of the validity and
amount of any claim Shaw may have against the Debtors and the Debtors' rights are
hereby reserved.

                2.2    Transfer of Property to Trustee. The Trustee agrees to accept
and hold the IT Environmental Liquidating Trust Assets in trust, subject to the terms
of the Plan, the Confirmation Order, and this Agreement.

               2.3     Intention of Parties.

                           (a) The parties agree that (i) during the term of the IT
Environmental Liquidating Trust, the IT Environmental Liquidating Trust will be a
reporting entity for federal income tax purposes under Subpart A of Subchapter J of
the Internal Revenue Code. The parties also agree that (i) the Debtors have released
all of their rights, title and interest in, and all benefits from, the IT Environmental
Liquidating Trust Assets and (ii) at the termination of the IT Environmental
Liquidating Trust, the Trustee is authorized and directed to designate one or more
Qualified Charity (as hereafter defined), and unrelated to the Trustee, as the
remainder beneficiaries of the IT Environmental Liquidating Trust.


                       (b) For purposes of this Agreement, an organization shall be
a "Qualified Charity" if, (i) at the time when the principal or income of the IT
Environmental Liquidating Trust is to be distributed to it, it is an organization
described in Section 170(b)(1)(A) of the Internal Revenue Code, as amended; (ii) it
has a principal objective of the protection of California and Californians from
exposure to hazardous materials; and (ii) the Trustee is not an Interested Person (as
hereafter defined) with regard to the organization.

                        (c) The term "Interested Person" shall mean either (i) any
person that has served as an officer, director, or employee of the organization at any
time during the previous five years, (ii) any person that has been compensated by the
organization at any time during the previous five years for services rendered it,
whether as a full- or part-time officer or other employee, independent contractor, or
otherwise, or (iii) any brother, sister, ancestor, descendant, spouse, brother-in-law,
sister-in-law, son-in-law, daughter-in-law, mother-in-law, or father-in-law of any
such person.


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                         ARTICLE III
  USE OF ASSETS, AUTHORITY, LIMITATIONS, AND DISTRIBUTIONS

                3.1     Purposes and Use of Assets.

                       (a) The IT Environmental Liquidating Trust is organized for
the purpose of providing for the closure and post closure management of the
Landfills and liquidating and distributing the proceeds from the IT Environmental
Liquidating Trust Assets.

                      (b) The Trustee will use funds derived from or constituting
the Post-Closure Insurance Policies for the sole purpose of providing for the closure
and post-closure management of the Landfills in accordance with the requirements of
environmental law, the Consent Order, the Permits, and the Post-Closure Insurance
Policies ("Environmental Operations");

                       (c) The Trustee will use funds derived from or constituting
the Landfill Assets for the purposes of administering the IT Environmental
Liquidating Trust and, to the extent funds are available beyond those reasonably
necessary to provide for the Environmental Operations, may use funds derived from
or constituting the Landfill Assets for the purposes of (i) managing, developing,
leasing, or marketing the Landfills for the production of revenue primarily for the
purpose of ensuring that the IT Environmental Liquidating Trust has sufficient funds
for the Environmental Operations; and (ii) pursuing contribution or cost-recovery
efforts or claims against any party that is liable or potentially liable for closure at the
Landfills; provided, however, that the Trustee shall not use such funds to pursue
contribution or cost-recovery efforts or claims against the Debtors, Reorganized IT
Group and the Litigation Trust, if such an action is subject to the injunction
described in Section 3.19 of the Plan.

               3.2     Restrictions on Use of Post-Closure Insurance Policies. The
IT Environmental Liquidating Trust shall not use the Post-Closure Insurance Policies
for the purposes of managing, developing, leasing or marketing the Landfills for the
production of revenue unless specifically allowed under the Post-Closure Insurance
Policies, and pursuant to the prescribed procedures for modifying the Post-Closure
Insurance Policies.




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               3.3     Separate Accounting. The Post-Closure Insurance Polices and
the Landfill Assets shall be accounted for separately in the books of the IT
Environmental Liquidating Trust.

                3.4     Supervision of Trust. The IT Environmental Liquidating Trust
will be established and administered pursuant to the laws of California and subject to
the jurisdiction of the U.S. District Court for the Northern District of California (the
"Court"). Nothing in the Plan or the Agreement, or in negotiations leading to the
formation of these instruments, shall be construed as a waiver by the State of
California, DTSC, or by any other California state agency, departments, board, or
commission ("State of California") of Eleventh-Amendment immunity, or as consent
to be sued or otherwise compelled to appear in any Federal Court, including the
Court and the United States Bankruptcy Court for the District of Delaware.

                3.5     Authority of Trustee. In connection with the administration of
the IT Environmental Liquidating Trust, except as otherwise set forth herein, the
Trustee is authorized to perform those acts necessary and desirable to effectuate the
terms and provisions of the Plan, the Confirmation Order, this Agreement, and the
Permits. The IT Environmental Liquidating Trust shall succeed to all of the rights of
the Debtors necessary to protect, maintain, preserve, conserve, operate, manage and
liquidate all IT Environmental Liquidating Trust Assets, including but not limited to
the enforcement of the Debtors' rights under agreements approved by prior orders of
the Northern District of California and rights under prior orders of the Northern
District of California. In that capacity, the IT Environmental Liquidating Trust shall
have the power, on behalf of and for the benefit of the IT Environmental Liquidating
Trust, to prosecute, defend, compromise, settle and otherwise deal with all IT
Environmental Liquidating Trust Assets subject to the terms and conditions of the
Agreement, the Plan and the Confirmation Order. Subject to the limitations set forth
in this Agreement or the Plan, and in addition to any powers and authority conferred
by law, the Trustee may exercise all powers granted him pursuant to Section 7.10(II)
of the Plan and herein.

                3.6    Books and Records. The Trustee shall cause to be maintained
the books and records it deems necessary for the operation of the IT Environmental
Liquidating Trust relating to the assets and income of the IT Environmental
Liquidating Trust and the payment of expenses of the IT Environmental Liquidating
Trust in such detail and for such period of time as may be necessary to enable him to
make full and proper reports in respect thereof and to comply with applicable
provisions of law.


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               3.7      Reports. The Trustee shall prepare and file with the Court
semi-annual status reports as required under Section 7.10(II) of the Plan, with
copies to the DTSC and the United States Trustee, provided, however, that, at least
two years after this Agreement becomes effective, and with the prior written approval
of the DTSC, the Trustee may file such status reports annually, instead of semi-
annually. The Trustee also shall prepare and file with the Court and DTSC the final
accounting required under Section 7.10(II) of the Plan. Additionally, the Trustee
shall prepare and file reports as required under applicable laws or by the Permits.


                3.8      Retention of Rights by California. Nothing in the Plan or this
Agreement is intended to be nor shall be construed as a deprivation or waiver by the
State of California of its rights and duties as a regulator under the laws of California
or the United States, including, without limitation, the Permits, nor affect the State of
California's interest, if any, in the Post-Closure Insurance Policies.

               3.9     Distributions.

                         (a) Prior to Termination, and not more than once each
calendar year, the Trustee is authorized to distribute to or apply for the benefit of one
or more Qualified Charities, as it may select from time to time (the "Beneficiaries"),
and in such proportions as it determines to be in the best interest of the Beneficiaries
or any of them, so much or all of (i) the net income of the IT Environmental
Liquidating Trust received during the previous calendar year, and (ii) the net
proceeds from any sale of the Landfill Assets received in the previous calendar year,
provided, however, that before making any such distribution, the Trustee shall retain
an amount of net proceeds or net income that enables it to conduct the Environmental
Operations at the Landfills to maintain the value of its assets, and to meet claims and
contingent liabilities, including funds necessary to meet closure and post-closure
maintenance and operation requirements and administrative expenses of the IT
Environmental Liquidating Trust.

                       (b) The Trustee shall not make a distribution if the Trustee
or DTSC determines that, at the time the distribution would occur, the amount to be
retained under subdivision (a) of the paragraph equals or exceeds the net income of
the IT Environmental Liquidating Trust and net proceeds from the sale of the
Landfill Assets for the previous calendar year. The Beneficiaries shall have no right
to seek any distribution of funds if the Trustee or DTSC has determined that no funds
are to be distributed.


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                        (c)    The Trustee shall notify DTSC in writing of the total
amount of any distribution it intends to make pursuant to this section, at least 60 days
prior to the distribution.

               3.10    Inspection of Books and Records

                         (a)    The Trustee shall provide to the DTSC, upon request,
copies of all non-privileged documents and information within their possession or
control or that of their contractors or agents relating to activities at the Landfills, in
accordance with the Permits, including, but not limited to, samplings, analyses, chain
of custody records, manifests, trucking logs, receipts, reports, and correspondence.
The IT Environmental Liquidating Trust does not waive, but retains all rights,
claims, and causes of action against all non-governmental third parties which may
gain access to the Landfills pursuant to the Plan or otherwise.

                       (b)     The IT Environmental Liquidating Trust shall preserve
and retain all documents or information in their possession or control, or which come
into their possession or control, that relate to the Landfills to the extent required by
the Permits, the Consent Order, or applicable law, whichever is longer. The IT
Environmental Liquidating Trust shall notify DTSC at least 90 days prior to the
dissolution of the Trust, and upon request by the DTSC, shall make available any
such documents or information to DTSC.

                         (c)     Nothing in Section 3.10(a) is intended to, nor shall,
limit the rights, if any, of the State of California to inspect the Trust's books and
records under federal or state law, or the Permits.


                              ARTICLE IV
                   APPLICATION OF THE IT LIQUIDATING
                     ENVIRONMENTAL TRUST ASSETS

                  4.1    The Trustee shall hold, maintain, and apply all IT Environmental
Liquidating Trust Assets in accordance with the terms of the Plan and this Agreement,
including without limitation, in accordance with the terms of Section 7.10(II) of the Plan
and Article III of this Agreement. The Trustee shall retain at all times an amount of net
proceeds or net income, if any, that enables it to conduct the Environmental Operations
at the Landfills, to maintain the value of its Assets, and to meet claims and contingent
liabilities, including funds necessary to meet closure and post-closure maintenance and


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operation requirements and administrative expenses of the IT Environmental
Liquidating Trust.

                                     ARTICLE V
                                      TRUSTEE

                5.1     Generally. The Trustee shall manage the affairs of the IT
Environmental Liquidating Trust and, in that capacity, shall exercise all rights, powers
and privileges granted to the IT Environmental Liquidating Trust or the Trustee by the
Plan, this Agreement, or otherwise enjoyed by the IT Environmental Liquidating Trust.
The Trustee's powers are exercisable solely in a fiduciary capacity consistent with, and
in furtherance of, the purposes of the Plan, the Confirmation Order, this Agreement and
the Permits. The Trustee may retain the services of attorneys, accountants, consultants
and other agents, in the business judgment of the Trustee, to assist and advise the
Trustee in the performance of his duties under the IT Environmental Liquidating Trust.
                                              .
                5.2     Duties and Powers of Trustee. Subject to the limitations of use
of the Post-Closure Insurance Policies set forth in Paragraph 3.2 of this Agreement, the
Trustee shall have the following duties and powers with respect to operation of the
Trust, the Landfills, and the Environmental Liquidating Trust Assets and liabilities:

                        (a)     To exercise all power and authority that may be or could
have been exercised; to commence all proceedings or actions that may be or could have
been commenced; and to take all actions that may be or could have been taken by any
officer, partner, employer, director, employee, shareholder, agent, or representative of
the Debtors, with like effect as if authorized, exercised and taken by unanimous action
of the officers, directors and shareholders of the Debtors;

                        (b)     To open and maintain bank accounts on behalf of or in the
name of the IT Environmental Liquidating Trust, or such other name under which the
Trustee may choose to do business; to calculate and make Distributions and take other
actions consistent with the Plan and the implementation hereof, including the
establishment, reevaluation, adjustment and maintenance of appropriate reserves; the
designation of funds for specified purposes; the formation or dissolution of subsidiaries;
the issuance of equity and interests in debt; to take any such actions as may be required
to comply with or to effectuate the terms, conditions, and obligations set forth in the
Permits, the Plan, the Confirmation Order, and this Agreement, all in the name of the
IT Environmental Liquidating Trust; and to take any action necessary to preserve the
integrity and condition of the IT Environmental Liquidating Trust Assets;


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                        (c)     To receive, hold legal title to, collect, use, spend, invest,
conserve, protect, sell, transfer, abandon, bring suit upon or otherwise manage the IT
Environmental Liquidating Trust Assets, and to enter into contracts on behalf of the IT
Environmental Liquidating Trust;

                        (d)      To object to ongoing Landfill Liabilities and to supervise
and administer the resolution, settlement and payment of such Landfill Liabilities and
any remaining Distributions to Persons in accordance with the Plan and this Agreement.
The Trustee may pursue, litigate, compromise or settle any Claim (disputed or
otherwise), free of any restrictions other than those restrictions expressly imposed by the
Plan, the Confirmation Order, or this Agreement;

                      (e)     To exercise such rights of setoff or recoupment,
subornation, indemnification or contribution as the Debtors or the Estate may have had
against any Person regarding the IT Environmental Trust Assets or liabilities, and/or
seek Bankruptcy Court or Court approval of such exercise;

                       (f)    To voluntarily engage in arbitration or mediation with
regard to any dispute or Claim;

                      (g)      To make decisions regarding the retention or engagement
of professionals, employees, consultants, or other persons, by the IT Environmental
Liquidating Trust and to pay, from the IT Environmental Liquidating Trust Assets, the
reasonable fees and costs incurred by the IT Environmental Liquidating Trust, without
application to the Court;

                        (h)     To (i) seek a determination of tax liability under Section
505 of the Bankruptcy Code; (ii) to file, if necessary, any and all tax and information
returns required with respect to the IT Environmental Liquidating Trust; (iii) to make
tax elections by and on behalf of the IT Environmental Liquidating Trust; and (iv) to pay
taxes, if any, owed by the IT Environmental Liquidating Trust;

                        (i)   To pay all lawful expenses, debts, costs, and liabilities of
the IT Environmental Liquidating Trust, including payments to government agencies
related to permitting, compliance, and enforcement matters;

                       (j)   To take all other actions consistent with the provisions of
the Plan that the Trustee deems reasonably necessary or desirable to administer and
otherwise implement the terms of the Plan, the Confirmation Order and this Agreement;


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                        (k)      To withhold from the amount of Landfill Assets or income
or proceeds generated by the Landfill Assets distributable to any Person under the Plan,
such amount as may be sufficient to pay any tax or other charge which the Trustee has
determined, in his sole discretion, may be required to be withheld therefrom under the
income tax laws of the United States or of any state or political subdivision thereof. In
the exercise of his sole discretion and judgment, the Trustee may enter into agreements
with taxing or other governmental authorities for the payment of such amounts as may
be withheld in accordance with the provisions of this subparagraph;

                        (l)     To invest Cash as deemed appropriate by the Trustee in
cash equivalents, and in no event including or deriving from the Post-Closure Insurance
Policies; provided, however, that notwithstanding that the IT Environmental Liquidating
Trust will be a reporting entity for federal income tax purposes under Subpart A of
Subchapter J of the Internal Revenue Code, the scope of any such permissible
investments shall be limited to include only those investments, or shall be expanded to
include any additional investments, as the case maybe, that a "liquidating trust", within
the meaning of Treasury Regulation Section 301.7701-4(d), may be permitted to hold,
pursuant to the Treasury Regulations, or any modification in the IRS guidelines, whether
set forth in IRS rulings, other IRS pronouncements or otherwise;

                    (m)     To hold title to any investment in the name of the IT
Environmental Liquidating Trustee or in a nominee name;

                       (n)     To collect or liquidate any IT Environmental Liquidating
Trust Assets;

                       (o)      To enter into an agreement or to execute any document
required by or consistent with the Plan, the Confirmation Order, this Agreement, or the
Permits, and to perform all obligations thereunder;

                       (p)      To abandon IT Environmental Liquidating Trust Assets
in any commercially reasonable manner that is consistent with environmental laws and
the Permits, including abandonment of the Landfills or donation to a charitable
organization of its choice, if it is concluded such IT Environmental Liquidating Trust
Assets are of no benefit to the IT Environmental Liquidating Trust; provided, however,
that abandonment of the Landfills will be subject to the approval of the DTSC and other
regulatory authorities with jurisdiction. Any abandonment must comply with the
provisions of the Permits or Section 554 of the United States Bankruptcy Code (11 USC
§ 554) and any other or future statutes, permits or regulations of a governmental
authority that apply;

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                        (q)      To have the exclusive power on behalf of the IT
Environmental Liquidating Trust to file, prosecute and/or settle all litigation claims
(including, without limitation, all contribution or cost recovery claims against third
parties with respect to the Landfills); to exercise, participate in, or initiate any
proceeding before any court of appropriate jurisdiction, to participate voluntarily as a
party or otherwise in any administrative, arbitrative or other nonjudicial proceeding; and
to seek cost recovery or contribution against any third party with respect to the Landfills
through any other means in addition to prosecution or litigation. The Trustee shall
provide thirty days' notice to DTSC before seeking cost recovery or contribution against
any third party with respect to the Landfills. The Trustee shall provide thirty days' notice
to DTSC before settling such claim or submitting a proposed settlement for judicial
approval, or seven days' notice after judicial resolution of a claim that is not settled;

                      (r)    To hold, in accordance with this Agreement, the
Confirmation Order, and the Plan, any unclaimed Distributions or payments to a
Beneficiary or other Person;

                      (s)    To purchase and to carry all insurance policies, and to pay
all insurance premiums and costs in accordance with federal or state law, or with the
Permits; and to purchase and to carry all insurance policies, and to pay all insurance
premiums and costs deemed necessary or advisable by the Trustee in his sole discretion;

                      (t)    To obtain additional funding and/or to enter into any
management agreements that the Trustee deems necessary to effectuate the terms of the
Plan, the Confirmation Order, this Agreement, and the Permits;

                        (u)     To provide for the Environmental Operations;

                       (v)    To have exclusive power, on behalf of the Trust, to
manage, develop, lease, or market the Landfills in a commercially reasonable manner
for the production of revenue;

                    (w)         To establish annual budgets and work schedules for
Environmental Operations;

                     (x)    To prepare and to file all required plans and reports with
DTSC or other regulatory agencies;

                        (y)     To provide, directly or through one or more contractors,

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management services, including accounting, public relations, procurement and oversight
of third-party vendors such as laboratories, engineers, construction contractors, material
suppliers, and legal advisors;

                       (z)     To make claims under the insurance policies;

                      (aa)     To maintain on-site staff at the Landfills capable of
performing site operations;

                       (bb) To do any and all other acts and to employ such persons
as the Trustee shall deem proper to effectuate the purposes hereof; and

                       (cc)    To value any transferred property for federal income tax
purposes.

                 5.3      Liability and Indemnification of Trustee. The Trustee, acting in
such capacity, shall not be personally liable in connection with any act or omission
except for such acts or omissions as shall constitute fraud, gross negligence, wilfull
conduct or intentional breach of the Plan, Confirmation Order or this Agreement, and
shall be entitled to, if eligible for, the protection of 42 U.S.C. § 9607(n) and similar
State statutes, including but not limited to California Health and Safety Code section
25548.3. The Trustee shall be indemnified by the IT Environmental Liquidating Trust
from the IT Environmental Liquidating Trust Assets, including any insurance
maintained by the IT Environmental Liquidating Trust that is available for such purpose,
to the maximum extent permitted by applicable law, from any losses, claims, damages,
liabilities or expenses (including without limitation, reasonable attorneys' fees,
disbursements, and related expenses) (collectively, "Expenses") which he may incur in
connection with any action, suit, proceeding, or investigation (collectively "Action")
brought or threatened against him in his capacity as Trustee; provided, however, that the
IT Environmental Liquidating Trust need not indemnify (but shall be required to defend
unless and until such findings have already been made by a court) the Trustee in respect
of any Action relating to matters in which the Trustee has been found to have engaged
in acts or omissions constituting fraud, gross negligence, or intentional breach of the
Plan, Confirmation Order or the IT Liquidating Trust Agreement. If the Trustee incurs
or becomes subject to any Expenses in connection with any such Action, the IT
Environmental Liquidating Trust shall advance to the Trustee, or otherwise promptly
reimburse the Trustee, for such Expenses; provided, however that the Trustee shall be
required to execute an undertaking promising to promptly repay to the IT Environmental
Liquidating Trust the amount of any such advanced or reimbursed Expenses paid to him
to the extent it shall be ultimately determined by the Court that the proximate cause for

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such Expenses was the Trustee's fraud, gross negligence, or intentional breach of the
Plan, Confirmation Order or IT Liquidating Trust Agreement.

                5.4     Reliance By Trustee. The Trustee may rely upon, and shall be
protected in acting upon, any resolution, certificate, statement, instrument, opinion,
report, notice, request, consent, order, or other paper or document believed by the
Trustee in good faith to be genuine and to have been signed or presented by the proper
party or parties. The Trustee may consult with legal counsel to be selected by him, and
the Trustee shall not be liable for any action he takes or omits to take in accordance with
the advice of such counsel.

                5.5     Expense Reimbursement and Compensation.

                        (a)     Subject to the limitations of use of the Post-Closure
Insurance Policies set forth in Paragraph 3.2 of this Agreement, the Trustee shall be
entitled to reimburse itself from time to time out of any available cash that is part of the
IT Environmental Liquidating Trust for reasonable costs and expenses (including
reasonable attorneys' fees and expenses) and against and from all loss, liability, expense,
or damage which the Trustee may sustain in good faith and without willful misconduct,
gross negligence, or fraud in the exercise and performance of any of the powers and
duties of the Trustee under this Agreement.

                        (b)     As consideration for the performance of his duties as
Trustee, the Trustee shall be entitled to receive reasonable compensation and benefits,
including (i) an annual salary of $120,000, subject to a 3.5% increase January 1 of each
year ("Base Salary"), with the first such increase occurring on January 1, 2005 and being
prorated according to the number of months the Trustee has served out of the previous
12 months; (ii) a benefits package similar to that offered by IT Corporation prior to
bankruptcy; (iii) four weeks of paid vacation, on an accrual basis; and (iv) maintenance
of a $250,000 term life insurance policy and appropriate liability insurance, with all
premiums to be paid by the IT Environmental Liquidating Trust. In addition to the Base
Salary, the Trustee shall receive as additional compensation on January 1, 2006, and on
each anniversary thereafter, 12.5% of the net proceeds generated by the Landfills during
the previous year.

                      (c)      If the Trustee position becomes vacant, the Court may
modify the consideration for the performance of the Trustee's duties prior to appointing
a Successor Environmental Liquidating Trustee under Section 5.7 of this Agreement.
The Court shall consider recommendations, if any, submitted by the previous Trustee,
or by DTSC, when determining reasonable compensation.

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                        (d)    In the event cash derived from the Landfill Assets shall
be insufficient to compensate and reimburse the Trustee for any amounts to which he
is entitled hereunder, the Trustee is hereby authorized, after thirty (30) days' notice to
the DTSC, to reduce to cash that portion of the Landfill Assets necessary so as to effect
such compensation and reimbursement, in accordance with environmental laws and the
Permits.

                        (e)    The reasonable fees and expenses incurred after the
Effective Date of any and all third-party contractors and professionals (including,
without limitation, legal counsel and other agents or advisors) retained by the Debtors
or the Trustee in connection with the implementation of the Plan and the fulfillment of
their respective duties under this Agreement shall be (i) deemed an expense of the IT
Environmental Liquidating Trust and (ii) promptly paid by the Trustee in accordance
with this Agreement and, where applicable, the Permits and the Post-Closure Insurance
Policies.
                5.6     Bond. The Trustee shall serve without bond.

                5.7    Resignation and Succession of Trustee. The IT Environmental
Liquidating Trustee may resign at any time upon sixty (60) days' written notice, filed
with the Court and delivered to (i) counsel for the IT Environmental Liquidating Trust,
(ii) the United States Trustee, and (iii) the DTSC. Such resignation may become
effective prior to the expiration of such sixty (60) day notice period upon Court
appointment of a permanent or interim successor to the Trustee. The Trustee may be
removed by the Court upon application by DTSC based only upon negligence or fraud
shown. In the event the Trustee position becomes vacant, the Trustee vacancy shall be
filled by the Court based upon recommendations submitted by the DTSC. Upon
appointment, the Successor IT Environmental Liquidating Trustee, without any further
act or notice being required, shall become fully vested with all of the rights, powers,
duties, and obligations of the former IT Environmental Liquidating Trustee.


                                 ARTICLE VI
                            TERMINATION OF TRUST

                6.1     Termination of the IT Environmental Liquidating Trust. The IT
Liquidating Trust will terminate on the earliest to occur of (i) the 30-year anniversary
of the Effective Date; or (ii) notification of the Court by the Trustee's filing of a
statement averring that the IT Environmental Liquidating Trust lacks the necessary
assets to continue its existence; provided, however, that, the Trustee shall provide the

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DTSC at least six (6) months' notice prior to such termination and provided that on or
before the date that is three (3) months prior to such termination, the Court, upon its own
motion or motion by the Trustee or the DTSC, may extend the term of the IT
Environmental Liquidating Trust so that all closure and post-closure activities will be
completed in accordance with the requirements of environmental law, the Consent
Decree and the Permits. A motion to extend the term of the IT Environmental
Liquidating Trust brought by the Trustee shall be served on the DTSC in accordance
with Court rules. Notwithstanding the foregoing, (i) multiple extensions can be obtained
provided that Court approval is obtained at least three (3) months prior to the expiration
of each extended period (including any bridge extensions pending a hearing on the
merits), and (ii) the term of this Agreement shall be extended in the manner provided
in this Section and with the approval of the Court if the Environmental Operations have
not been completed.



                                ARTICLE VII
                           AMENDMENT AND WAIVER

                7.1    Amendment and Waiver. This Agreement may not be amended,
modified, or supplemented, and no provision hereof or rights hereunder may be waived,
except in writing and with the written consent of the Trustee and DTSC or upon order
of the Court.


                                ARTICLE VIII
                         MISCELLANEOUS PROVISIONS


               8.1     Governing Law. This Agreement shall be governed by and
construed in accordance with the laws of the State of California, without giving effect
to rules governing the conflict of laws.

               8.2   Retention of Jurisdiction. Notwithstanding the Effective Date,
the Bankruptcy Court shall retain jurisdiction over the IT Environmental Liquidating
Trust in accordance with the Plan, and consistent with Section 3.4 of this Agreement.
Each party to this Agreement hereby irrevocably consents to the jurisdiction of the
Bankruptcy Court in any action to enforce, interpret, or construe any provision of this
Agreement.

               8.3     Severability. In the event any provision of this Agreement or the
application thereof to any Person or circumstance shall be determined to be invalid or

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unenforceable to any extent, the remainder of this Agreement, or the application of such
provision to Persons or circumstances other than those as to which it is held invalid or
unenforceable, shall not be affected thereby, and such provision of this Agreement shall
be valid and enforced to the fullest extent permitted by law.

                8.4     Third-Party Beneficiaries. Except for the Beneficiaries or as
specifically stated herein, nothing in this Agreement is intended to confer upon any
Person that is not a party hereto any rights or remedies hereunder.

                8.5     Further Assurances. From and after the Effective Date, the parties
hereto covenant and agree to execute and deliver all documents and notices and to take
all such further actions as may reasonably be required from time to time to carry out the
intent and purposes of this Agreement, the Plan and the Confirmation Order, and to
consummate the transactions contemplated thereby.

                8.6    Integration Clause. This Agreement constitutes the complete
agreement of the parties hereto with respect to the subject matter hereof and supersedes
all prior or contemporaneous negotiations, promises, covenants, agreements, or
representations. This Agreement is intended to be, and shall be treated as, an integral
part of the Plan.

              8.7     Successors, Assigns, etc. The terms of this Agreement shall be
binding upon, and shall inure to the benefit of, the parties hereto and their respective
successors and assigns.

              8.8     Headings. The section headings contained in this Agreement are
solely for convenience, and shall not affect the meaning or interpretation of this
Agreement or of any term or provision hereof.

               8.9     Counterparts. This Agreement may be signed by the parties
hereto in counterparts, which, when taken together, shall constitute one and the same
document.




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        IN WITNESS WHEREOF the parties hereto have either executed and
acknowledged this Agreement, or caused it to be executed and acknowledged on their
behalf by their duly authorized officers, all as of the date first above written.

                                IT Corporation
                                IT Lake Herman Road LLC
                                IT Vine Hill LLC

                                By___________________________________
Dated: ___________
                                Authorized Representative


                                IT Environmental Liquidating Trust


                                By___________________________________
Dated: ___________              Brian Fournier
                                Trustee




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                           FIRST AMENDMENT OF THE

         IT ENVIRONMENTAL LIQUIDATING TRUST AGREEMENT

               This first Amendment ("Amendment") dated as of December fo , 2004 to
the IT Enviromnental Liquidating Trust Agreement originally executed April 30, 2004
(the "Agreement") by and among, Brian Fournier (not individually but solely in his
capacity as trustee under the Agreement) (the "Trustee"), Sunil S. Kishnani (not
individually but solely in his capacity as a successor trustee under the Agreement)
("Successor Trustee") and the California Department of Toxic Substances Control
("DTSC"), as the Califon1ia administering agency, is entered into in connection with the
Debtors' First Amended Joint Chapter 11 Plan of Reorganization dated February 9, 2004
(the "Plan") filed in the jointly administered chapter 11 bankruptcy cases entitled In re
The IT Group, Inc. et. al., Jointly Administered Under Case No. 02-10118 (MFW)
pending in the United States Bankruptcy Court for the District of Delaware (the
"Bankruptcy Court").

              WHEREAS, on or about April 5, 2004, the Bankruptcy Court entered an
order confirming the Plan (the "Confirmation Order");

              WHEREAS, pursuant to Chapter 7.10(11) of the Plan, the IT
Environmental Liquidating Trust Assets are to be transferred to tl1e IT Environmental
Liquidating Trust or ("Trust");

             WHEREAS, pursuant to Chapter 7.10(11) of the Plan, the IT
Environmental Liquidating Trust Funding is to be transferred to the Trust; and

                 WHEREAS, the Trustee has agreed to act as the Trustee under tl1is
Agreement and to perform as Trustee upon and subject to the terms and conditions set
forth in ilie Plan and the Agreement;

               WHEREAS, the Trustee seeks to resign pursuant to the terms and
conditions of Section 5.7 of the Agreement;

              WHEREAS, the Trustee has caused to be filed in the United States
Bankruptcy Court, District of .Delaware ("Co11rt") a Motion to Withdraw as Trustee and
such Court ordered said witl1drawal in an Order dated December {, , 2004

              WHEREAS, the Court ordered the appointment of Sunil S. Kishnani as
the Successor Trustee pursuant to the terms of Section 5.7 of the Agreement, based upon
the recommendation from the DTSC, as tbe administering agency;

               WHEREAS, Sunil S. Kishnani has agreed to accept said appointment and
agrees to oversee the Trust under the conditions and terms of the Agreement;
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               NOW, THEREFORE, in consideration of the premises and mutual
covenants and agreements contained in the Agreement, the Trustee, the Successor
Trustee and the DTSC agree as follows:

                                                ARTICLE I
                               TRANSFER OF TRUSTEE AUTHORITY

              1.1    Upon approval by the Court, the Trustee hereby resigns as trustee
under the Agreement.

              1.2     Upon approval by the Court, the Successor Trustee hereby agrees
to assume the duties and responsibilities oftrnstee under the Agreement. As the trustee,
Successor Trustee hereby agrees to comply with the terms and conditions of the
Agreement and the Plan.

                1.3   DTSC has recommended that U1e Successor Trustee serve as
trustee under the Agreement and hereby approves this Amendment.

                    IN WITNESS WHEREOF the parties hereto have either executed and
acknowledged this Amendment to the Agreement, or caused it to be executed and
acknowledged on their behalf by their duly authorized officers, all as of the date first
above written.


                                                Trustee
                                                By ~~l. / I ~
Dated: Df.'.'tf:.jVjfl.f!{I.   t   '2.o o '-I     Brian Fournier



                                                Successor Trustee   ,
                                                B       ~\~\\._¼w-,
                                                    y              =-
                                                     SunilJ<ishnani · ·


                                                California Department of Toxic Substances
                                                Control

Dated:                                          By _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                Titl-e_:




                                                      2
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          EXHIBIT C
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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT 01<' DELAWARE

---------------------------                          X
Tn re:                                                      Chapter 11

THE IT GROUP, INC., ct ,lt,                                 Case No. 02-10118 (MFW)

                          Debtors.                          Jointly Administered

---------------------------                          X      Related to Docket No. 4812

     ORDER CONFIRMING THE FIRST AMENDED .JOINT CHAPTER 11 PLAN FOR
      THE IT GROUP, INC. AND ITS AFFILIATED DEBTORS PROPOSED BY THE
       DEBTORS AND OFFICIAL COMMITTEE OF UNSECURED CREDITORS

                          The IT Group, Inc. ("IT Group"), as debtors and debtors in possession

(collectively, with IT Group, the "Debtors") and the Official Committee of Unsecured Creditors

(the "Committee," and together with the Debtors, the "Plan Proponents") appointed in the

Debtors' above-captioned chapter 11 cases (colkctively, the "Chapter 11 Cases") having

proposed and filed their First Amended Joint Chapter 11 Plan for The IT Group, Inc. and its

Afllliatcd Debtors Proposed By the Debtors and the Official Connnittee of Unsecured Creditors
                                                                                         1
dated February 9, 2004 (as modified to the extent set forth herein, the "Plan"); and the United

States Bankruptcy Court for the District of Delaware (the "Court") having conducted a hearing to

consider confim1ation of the Plan on March 29, 2004 (the "Hearing"); and the Court having

considered the testimony al the Hearing of Harry J_ Soose, .Jr., the Debtors' Chief Operating

Officer (the "Soose Testimony"), and Meade A. Monger (the "Monger Testimony") of

AlixPartncrs LLC, the Committee's bankruptcy claims specialists and advisors ("AlixPartners");

and tl1e Court having considered the Revised Affidavit of Kathleen M. Logan Certifying Voting


       All capitalized terms not otherwise delincd herein shall have the respective meanings
ascribed to such tem1s in the Plan.



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and Tabulation of Ballots Accepting and Rejecting the First Amended Disclosure Statement

Pursuant to Section 1125 or the Bankruptcy Code with respect to the First Amended Joint

Chapter 11 Plan for The IT Group, Inc. and its Affiliated Debtors Proposed by the Debtors and

the Offtcial Committee of Unsecured Creditors dated March 29, 2004 (Docket No. 4886) (the

"Logan Affidavit") by Logan & Company, Inc., the Debtors' solicitation and tabulation agent

(the "Tabulation Agent"); and the Court being familiar with the Plan and other relevant factors

affecting these jointly administered Chapter 11 Cases pending under chapter 11 of title 11 of the

United States Code, 11 U.S.C. §§ 101 et seq. (the "Bankruptcy Code"); and the Court having

taken judicial notice of the record of these Chapter 11 Cases with respect to confirmation of the

Plan, including, without limitation, the Plan, the First Amended Disclosure Statement Pursuant to

Section 1125 of the Bankruptcy Code With Respect to the Plan dated Fehmary 9, 2004 (the

"Disclosure Statement"), the exhibits to the Plan and the Disclosure Statement, the Plan

Documents filed with the Court, and the order of the Court dated February 11, 2004 (the

"Approval Order") approving the Disclosure Statement, scheduling a hearing to consider

confirmation of the Plan, setting the voling deadline with respect to the Plan, setting the last day

for filing objections to the Plan, prescribing the fonn and manner of notice thereof, and

approving the form of Ballots and proposed solicitation and tabulation procedures; and the Court

having found that due and proper notice has been given with respect to the Hearing and the

deadlines and procedures set forth in the Approval Order; and after consideration of the various

objections to the Plan (the "Objections") filed by certain oflhe Debtors' creditors and other

parties in interest (collectively, the "Objecting Parties"); and the appearances of the Objecting

Parties at the Hearing having been duly noted on the record of the Hearing; and based upon the

entire record of the Hearing, the evidence presented by the Plan Proponents in support of


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confirmation of the Plan, and the statements and arguments of counsel made at the Hearing; and

after due deliberation and sufficient cause appearing therefor;

                                IT IS HEREBY FOUND, CONCLUDED, ORDERED, ADJUDGED, AND

                                             2
DECREED, AS FOLLOWS:

FINDINGS OF FACT:

I.           JURISDICTION

             A.                 The Conrt has jurisdiction to conduct the Hearing and to confirm the Plan

pursuant to 28 U.S.C. § 1334. Venne is proper before this Court pursuant to 28 U.S.C. §§ 1408

and 1409.

             B.                 Confirmation of the Plan is a core proceeding pursuant to 28 U.S.C. § 157(b), and

this Court has jLtrisdiction to enter a final order with respect thereto.

             C.                 The Debtors are proper debtors under section 109 of the Bankruptcy Code.

             D.                 The Debtors and the Committee are proper proponents of the Plan under section

1121 of the Bankruptcy Code.

IL           MODIFICATIONS TO THE PLAN

             E.                 At or before the Hearing, the Plan Proponents received written Objections to

confirmation or the Plan by the following Ohjccting Parties: (i) Accardi Plaintiffs and Rochelle

Bookspan, (ii) AMTRAK Corporation, (iii) Arctic Slope, Inc., (iv) ATOFINA Petrochemicals,

Inc., (v) Guillermo Barrientos, Joyce Barrientos and Christina Alfaro, (vi) California Department

of Toxic Substance Control, the Central Valley Regional Water Quality Control Board, the


2      The Findings of Fact and Conclusions of Law contained herein constitute the findings of
fact and conclusions of law required to be entered by this Court pursuant to Rule 52 of the
Federal Rules of Civil Procedure, as made applicable herein by Rules 7052 and 9014 of the
Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules").



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Central Coast Regional Water Quality Board and the San Francisco Regional Water Quality

Control Board, (vii) Consolidated City of Indianapolis, (viii) Conestoga-Rovers & Associates,

Inc. ("Conestoga-Rovers"), (ix) Crompton Corporation, (x) Roger L. Halley, Co-Trustee, Judith

A. Halley Trust No. 1 uad 7/11/96, (xi) Lockheed Martin Corporation, (xii) State of New Jersey,

Department of Environmental Protection, (xiii) Occidental Chemical Corporation, (xiv) Potter

Anderson & Corroon LLP, (xv) PPG Industries, Inc. ("PPG"), (xvi) Southeastern Pennsylvania

Transportation Authority, (xvii) Southwestern Bell Telephone Company, L.P., (xviii) Staro Asset

Management, LLC, (xix) The Comptroller of Public Accounts of the State of Texas ("Texas

Comptroller"), (xx) The Shaw Group, Tnc. ("Shaw"), (xxi) US Bancorp Equipment Finance, Inc.,

(xxii) The United States of America, on behalf of the United States Environmental Protection

Agency, (xxiii) Roberta A. DeAngelis, Acting United States Trustee for Region 3, and (xxiv)

Weston Solutions, Inc., f/k/a Roy F. Weston, Inc. In addition, the Plan Proponents advised the

Court at the Hearing that they had received an informal Objection to confirmation of the Plan by

the United States Securities and Exchange Commission (the "SEC").

           F.          At the Hearing, the Plan Proponents proposed certain technical modifications to

the Plan (the "Modifications'') as set forth below:

            G.         Tnserl a new paragraph after Section l.l(d) as follows:

                       (d)(i) "ADR Administrator" means the Litigation Trust Trustee.

            H.         The definition of"Availablc Proceeds" in Section 1.l(i) of the Plan is modified by

including al the end of such definition the following additional language: "at any time Allowed in

accordance with the Plan."

            I.         The following definitions in Section I.I of the Plan arc modified and replaced in

their entirety with the following:



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                        (x)     "Committee Designee" means Murray H. Hutchison or
                        such other Person selected by the Committee (or, as otherwise set
                        forth in the Plan or the by-laws adopted by the Oversight
                        Committee) to serve as a member of the Oversight Committee
                        from and after the Effective Date.

                        (sss) "Lender Designecs" means Cargill Financial Services Corp.
                        and Citadel Investment Group L.L.C., or SLICh other Persons
                        selected by the Agent (on behalf of the Prepetition Lenders) to
                        serve as members of the Oversight Committee from and after the
                        Effective Date.

                        (kkkk) "Oversight Committee" means the committee comprised of
                        three members (which number may not be increased), consisting of
                        the Committee Designee and the Lender Designees, which shall
                        oversee the administration and implementation of the Plan and the
                        liquidation of the Debtors' Assets in accordance with the Plan.

            J_          The definition of"Non-Lender Secured Claim" in Section l.J(eeee)(ii) of the Plan

is hereby modified by deleting the words "recoupment or."

            K.          Section 4. J (b)(iv) of the Plan is modified and replaced in its entirety with the

following: "if such Allowed Non-Lender Secured Claim is secured by a valid right of setoff,

such Claim shall be setoffto the extent oflhe amount subject to such setoffin accordance with

sections 506(a) and 553 of the Bankruptcy Code."

            L.          Section 5. l(c) of the Plan is hereby modified by deleting "without notice or a

hearing" at the end of the first sentence of such section.

            M.          Secti,m 7.7 of the Plan is modified by (a) replacing the first sentence of Section

7. 7 in its entirety with the following: "On the Effective Date, the Oversight Committee shall be

formed, which Committee shall be comprised of three (3) members (which number may not be

increased), consisting of lhe Committee Designee and the Lender Dcsignees; provided, however,

that the Lender Designees, collectively, shall be treated as one member of the Oversight

Committee for all purposes Linder the Plan (including, but not limited to, with respect to voting



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and the Oversight Committee Compensation)"; and (b) replacing the third sentence in Section 7.7

in its entirety with the following: "Oversight Con1mittee decisions shall be made with the

approval of the Committee Designcc and the Lender Designecs."

            N.           Section 7. I 0(11) of the Plan is modified by (a) removing "with the DTSC" from

the first sentence and (b) including al the end of such section the following additional language:

"Notwithstanding any provision of !his Plan, the United States retains all of its access authorities

and rights, including enforcement tights related thereto, with respect to the Landfills. Nothing in

this Section 7. 1O(II) is intended to be nor shall it be construed as a deprivation or waiver by the

United States Environmental Protection Agency of any rights or duties as a regulator under the

laws of the United States with respect to the Landfills."

            0.           Article XII of the Plan is modified by deleting the word "exclusive" in the first

paragraph and by including at !he end of such ai1icle the following additional language: "Nothing

in this Article shall preclude any other tribunal with _jurisdiction from exercising its jurisdiction

in any action brought by a United States environmental governmental unit, a California state

environmental governmental unit, and/or a New Jersey state environmental governmental unit.

Notwithstanding the Bankruptcy Court's retention of jurisdiction as set forth in this Article, the

1T Environmental Liquidating Trust also shall be subject to the jurisdiction of the Northern

District of California."

             P.          Section 13.2, entitled "Discharge of the Debtors," is deleted in its entirety.

             Q.          Section 13.17 of the Plan is modified by deleting the following language: "(and

any payments or other Distributions to be made in respect of such Claim hereunder)."

             R.          Section 13.19 is modified in its entirety and replaced with the following:

                         Except as otherwise expressly provided in the Plan, all Persons or


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                             entities who have held, hold, or may hold Claims or Equity
                             Interests are permanently enjoined, from and after the Effective
                             Date, from (a) commencing or continuing in any manner any action
                             or other proceeding of any kind on any such Claim or Equity
                             Jnterest against any of the Debtors, their Estates, Reorganized IT
                             Group, the IT Environmental Liquidating Trnst, the IT
                             Environmental Liquidating Trustee, the Litigation Trnst, the
                             Litigation Trnst Trustee, or the Assets, or against the property or
                             interests in property of any of the Debtors, their Estates,
                             Reorganized IT Group, the IT Environmental Liquidating Trust or
                             the Litigation Trnst, (b) the enforcement, attachment, collection or
                             recovery by any manner or means of any Claims and/or Equity
                             Interests, or any _judgment, award, decree or order with respect to
                             any Claims and/or Equity Interests, against any of the Debtors,
                             their Estates, Reorganized IT Group, the IT Environmental
                             Liquidating Trust, the IT Environmental Liquidating Trnstee, the
                             Litigati()n Trust, the Litigation Trust Trustee, or the Assets, , or
                             against the property \lr interests in property of any of the Debtors,
                             their Estates, Reorganized IT Group, the IT Environmental
                             Liquidating Trnst or the Litigation Trust, (c) creating, perfecting, or
                             enforcing any encumbrance of any kind against any of the Debt\lrs,
                             their Estates, Reorganized IT Group, the IT Environmental
                             Liquidating Trust, the IT Environmental Liquidating Trustee, the
                             Litigation Trust, the Litigation Trust Trustee, or the Assets, or
                             against the property or interests in property of any of the Debtors,
                             their Estates, Reorganized IT Group, the 1T Environmental
                             Liquidating Trust or the Litigation Trust, and (d) asserting any
                             right of .'let off qi; aubrogation \lf any kind against any obligati\ln
                             due from any Debtor or against the property or interests in property
                             of any Debtor, with respect to any such Claims or Equity Interests;
                             provided however, that the foregoing shall not affect the rights or a
                             party that were obtained purs,mnt to a Final Order of the
                             Bankruptcy Court granting limited relief from the automatic stay
                             umler section 362(d) of the Bankruptcy Code. Nothing in this
                              Section 13.19 shall enjoin the exercise of any police or regulatory
                             power by a United States environmental governmental unit, a
                              California state environmental governmental unit or a New Jersey
                              state environmental governmental unit with respect to any
                              envir()nmental Claim that arises after the Effective Date.

              S.             Section 13.22 of the Plan is modified by deleting the last parenthetical at the end

of the first sentence and replacing it with the following: "(other than Causes of Action of the

Debtors against Harry J. Soose, Jr., except to the extent of available director and officer


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insurance coverage, in any action brought by, or on behalf of, the Debtors, the Committee and/or

the Litigation Trust)."

            T.          Notice of the Modifications was due and proper under the circumstances.

            U.          The Modifications do not materially or adversely change the treatment of the

holder of any Claim or Equity Interest and comply with section 1127 of the Bankruptcy Code and

Bankruptcy Rule 3019.

            V.          The Plan, as modified by the Modifications, is properly before the Court and all

votes cast with respect to the Plan shall be binding and shall be deemed to be cast with respect to

the Plan, as modified by the Modifications.

            W.          As set forth on the record of the Hearing, each of the Objections has been either

(a) withdrawn at or before the Hearing, (b) resolved by the terms of this Order, or (c) otherwise

overruled by the Court.

Ill.        SOLICITATION AND VOTING

            X.          Pursuant to the Approval Order, (i) March 22, 2004, at 4:00 p.m. (Prevailing

Eastern Time) was the deadline by which all Ballots for Classes 2, 3, 4A and 4B under the Plan

(the "Ballots") were required to be cmnplctcd, executed, marked, and received by the Tabulation

Agent in order lo be counted as timely votes on the Plan (the "Voting Deadline"); (ii) March 22,

2004 at 4:00 p.m. (Prevailing Eastern Time) was the deadline for filing objections to

confim1ation of the Plan (the "Objection Deadline"); and (iii) the record date for determining

creditors entitled lo vote on the Plan was January 14, 2004 (the "Voting Record Date").

            Y.          The Plan Proponents complied with the Approval Order by causing to be

transmitted by first class United States mail, postage prepaid, on or before February 17, 2004 (the

"Solicitation Deadline"), a Solicitation Package consisting of(i) the Voting Procedures; (ii) the



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Disclosure Statement (with the Plan attached as an exhibit); (iii) the Confirmation Hearing

Notice; and (iv) the approved form of Ballot with voting instructions and pre-addressed postage-

paid envelopes to (a) the Office of the United States Trustee; (b) each holder ofa Claim in each

of Class 2 (Non-Lender Secured Claims), Class 3 (Lender Claims), Class 4A (General Unsecured

Claims) and Class 4(B) (Litigation Unsecured Claims) of the Plan that was (y) listed in the

Schedules as of !he Voting Record Date or (z) represented by a timely filed proof of claim

against any of the Debtors that was not the subject of an objection filed and served by the

Solicitation Deadline; and (c) each oflhe other parties on the 2002 Service List.

           Z.          As set forth in the Logan Affidavit, the Tabulation Agent has made a final

determination of the validity of, and prepared a tabulation respecting, all acceptances and

rejections of the Plan by the impaired Classes of Claims entitled to vote on the Plan, including

the amount and number of Claims in each of Classes 2, 3, 4A and 4B voting to accept or reject

the Plan. Each of Classes 2 (Non-Lender Secured Claims),3 3 (Lender Claims), 4A (General

Unsecured Claims) and 48 (Litigation Unsecured Claims) has accepted the Plan by at least two-

thirds in an10unt and a majority in number of the Claims in each such Class actually voting as set

forth in the Logan Affidavit. Class 1 (Priority Claims) is unimpaired under the Plan and is

deemed to have accepted the Plan in accordance section 1126({) of the Bankrnptcy Code.

Classes 4C (Securities Litigation Claims), 4D (Subordinated Claims) and 5 (Equity Interests) will

not receive or retain any property under the Plan on account of such Claims or Equity Interests




:iSection 2.5 of the Plan provides that each Non-Lender Secured Claim shall be treated as a
separate class for voting and distribution purposes under the Plan. As set forth on the record of
the Hearing, Conestoga-Rovers in Class 2C and Richard Myszka in Class 2L rejected the Plan.




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and arc deemed to have rejected the Plan in accordance with section 1126(g) of the Bankruptcy

Code.

           AA.         The determination of the Tabulation Agent with respect to the voting on the Plan

validly and correctly sets forth the tabulation of votes, as required by the Bankruptcy Code, the

Bankruptcy Rules and the Approval Order.

           BB.         All persons required to receive notice of the Disclosure Statement, the Plan and

the Hearing have received proper, timely and adequate notice in accordance with the Approval

Order and have had an opportunity to appear and be heard with respect thereto. Such notice is

due and proper notice under the Bankruptcy Code and the Bankruptcy Rules.

           CC.         The Plan Proponents have solicited and tabulated votes with respect to the Plan in

good faith and in a manner consistent with the Bankruptcy Code, the Bankruptcy Rules and the

Approval Order.

           DD.         The Plan was voted on by all Classes of impaired Claims that were entitled to vote

pursuant to the Bankruptcy Code, the Bankruptcy Rules and the Approval Order.

IV.        THE PLAN SATISFIES SECTION 1129(a)(l) OF THE BANKRUPTCY CODE

           EE.         The Plan satisfies all the applicable provisions of the Bankruptcy Code, and, as

required by Bankruptcy Rule 3016(a), the Plan is dated and properly identifies the Debtors and

the Committee as the Plan Proponents.

                       I.     The Plan Satisfies the Requirements
                              of Section 1122 of the Bankruptcy Code

            FF.        Tn accordance with section 1122(a) of the Bankruptcy Code, Article 11 of the Plan

classifies and places in a Class each Claim against and Equity Interest in the Debtors together

with other Claims against or Equity Interests in the Debtors, as applicable, that arc substantially




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similar to such Claims or Equity Internsts. The Plan, therefore, satisfies section 1122(a) of the

Bankruptcy Code.

                         2.     The Plan Satisfies the Requirements
                                of Section 1123(a)(l) of the Bankruptcy Code

            GG.          The Plan adequately and properly classifies all Claims and Equity Interests

required to be classified and, accordingly, satisfies section l 123(a)(l) of the Bankruptcy Code.

                         3.     The Plan Satisfies the Requirements
                                of Section 1123(a)(2) of the Bankruptcy Code

             HH.         Pursuant to Section 3.1 ()[the Plan, Class I is identified as unimpaired.

Accmdingly, the Plan satisfies section 1123(a)(2) of the Bankruptcy Code.

                         4.     The Plan Satisfies the Requirements
                                of Section 1123(a)(3) of the Bankruptcy Code

             IL          Pursuant to Section 3.2 of the Plan, each of Classes 2, 3, 4A, 4B, 4C, 4D and 5 are

identified as impaired. Section 4.1 of the Plan specifies the treatment of each impaired class of

Claims and Equity Interests. Accordingly, the Plan satisfies section 1123(a)(3) of the Bankrnptcy

Code.

                         5.     The Plan Satisfies the Requirements
                                of Section l 123(a)(4) of the Bankruptcy Code

             JJ.         The Plan provides the same treatment for each Claim or Equity lnten,st in each

class unless the holder of such a Claim or Equity Interest agrees           t(>   less favorable treatment.

Accordingly, the Plan satisfies section 1123(a)(4) of the Bankrnptcy C()de.

                         6.     The Plan Satisfies the Requirements of
                                Section 1123(a)(5) of the Bankruptcy Code

             KK.         Article VTT of the Plan sets forth the means by which the Plan will be

implemented, including, without limitation, (i) Section 7.1 of the Plan provides for the

substantive consolidation for voting and Distribution purposes under the Plan of the Assets of


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and Claims against the Debtors; (ii) Section 7.2 provides for the approval of the release of claims

against or guaranteed by non-Debtor Subsidiaries; (iii) Section 7.3 provides for the approval of

the merger and dissolution of the TT Group corporate entities upon the transfer of the Debtors'

Assets lo lhe Litigation Trust, all as described in such section; (iv) Sections 7.4 and 7.17 provide

for the approval of the settlement and compromise of all Causes of Action as of the Effective

Dale by and between the Agent and the Prepetition Lenders, on the one hand, and the Debtors,

non-Debtor Subsidiaries and the Commiltee (and all of its members), on lhe other hand, pursuant

to the Plan Settlement; (v) Section 7.5 provides for approval of the vesting ohitle in and

distribution of the Shaw Stock upon the occurrence of the Effective Date; (vi) Sections 7.6, 7.7,

7.8, 7.9, 7.10, 7.11, 7.12 and 7. 13, provide for the management of the Litigation Trust, the

vesting of lhe Debtors' Assets in the Litigation Trust, the rights and duties of the Oversight

Connnittee including, but not limited lo, oversight of administration and implementation of the

Plan and the liquidation and distribution of the Debtors' Assets in accordance with the Plan, and

the pursuit of the Avoidance Actions and the Estate Causes of Action; (vii) Section 7.10 provides

for the implementation of the Litigation Trust in accordance with the Plan and the Litigation

Trust Agreement; (viii) Sections 7.20 through 7.30 provide the making of Distributions under the

Plan; (ix) Section 7.14 provides for lhe cancellation of certain instruments and agreements as of

the Effective Date; (x) Section 7.31 provides that any matter under the Plan which requires

corporate action or involves the corporate structure of the Debtors will have been deemed to have

occurred; and (xi) Section 7.32 provides that each of the officers of the Debtors and/or the

Litigation Trust Trustee are authorized to take any actions as are necessary and appropriate to

effectuate the Plan. Accordingly, the Plan makes adequate means for its implementation and

satisfies section 1123(a)(5) of the Bankruptcy Code.


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                          7.     The Plan Satisfies the Requirements of
                                 Section 1123(a}(7) of the Bankruptcy Code

             LI..         The Plan Proponents disclosed at the Hearing that the Committee and the Agent

have elected the Litigation Trust Alternative in accordance with Section 4.2 of the Plan. The

Plan Proponents also disclosed at the Hearing that Alix Partners shall serve as the Litigation Trust

Trustee, and the manner set forth in the Plan for the selection of the Litigation Trust Trustee is

consistent with the interests of the Debtors' creditors and with public policy. The Litigation

Trust Trustee shall serve as the Disbursing Agent under the Plan.

             MM.          An oversight committee ofthree members (the "Oversight Committee"),

consisting of Murray H. Hutchison, as the Committee Designee, and Cargill Financial Services

Corp. and Citadel Investment Group L.L.C., as the Lender Designees, shall he appointed as of the

Effective Date. The Oversight Committee shall oversee the administration and implementation

of the Plan, the liquidation and distribution of the Debtors' Assets in accordance with the Plan,

the perfonnance of the Plan Administrator and the pursuit and resolution of the Avoidance

Actions and Estate Causes or Action. The Litigation Trust Trustee shall pay the Committee

Dcsignee, on the one hand, and the Lender Designees, collectively, on the other hand, the

Oversight Committee Compensation in the amount of $5,000 per calendar quarter commencing

from and after the Effective Date, plus reimbursement of reasonable expenses. The annual

compensation of the lT Environmental Liquidating Trustee, Brian Fournier, is $120,000, subject

to a maximum 3.5% increase annually, plus reimbursement of reasonable expenses, which

compensation and reimbursement shall be paid from the assets oflhe IT Enviromnental

Liquidating Trust. Accordingly, the Plan satisfies section 1123(a)(7) of the Bankruptcy Code.




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                            8.     Pursuant to Section 1 l23(b)(2)
                                   of the Bankruptcy Code,
                                   The Rejections and Assumptions of
                                   Executory Contracts and Unexpired Leases,
                                   as Set Forth in the Piao, arc in the
                                   Best Interests of the Debtors' Estate

          NN.               Article XI of the Plan provides that Exhibit 2 to the Plan sets forth a list of

cxeeutory contracts and unexpired leases, together with the amount, i r any, required to cure any

defaults, to be assumed under the Plan by the Debtors. Any cxccutory contracts or unexpired

leases listed on Exhibit 2 to the Plan shall be deemed to have been assumed by the Debtors on,

and subject to the occurrence of, the Effective Date. The Plan further provides that the entry of

this Order shall constitute approval of such assumptions (subject to the occurrence of the

Effective Date) pursuant to section 365 oftbe Bankrnptcy Code and findings by the Bankrnptcy

Court that the amounts listed on Exhibit 2 arc sufficient to cure any defaults that may exist, that

each assumption is in the best interest of the Debtors and their estates and that the requirements

for assumption of such executory contracts or unexpired leases under section 365 of the

Bankrnptcy Code have been satisfied. Ex hibil 3 to the Plan sets forth a list of executory

contracts and unexpired leases, together with the amount, if any, required to cure any defaults, lo

be assumed under the Plan by the Debtors and assigned to the IT Environmental Liquidating

Trnst. Any executory contracts or unexpired leases listed on Exhibit 3 to the Plan, as such may

have been amended prior to the Confirmation Hearing, shall be deemed to have been assumed by

the Debtors and assigned to the IT Environmental Liquidating Trust on and subject to the

occurrence of the Effective Date. The IT Environmental Liquidating Trust shall satisfy all of the

Debtors' obligations to cure defaults and compensate for dan1ages with respect to the executory

contracts and unexpired leases listed on Exhibit 3 to the Plan pursuant to section 365(b) of the




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Bankruptcy Code, and the Debtors shall be relieved of any liability from and after the Effective

Date with respect to such executory contracts and unexpired leases in accordance with section

365(k) of the Bankruptcy Code.

           00.         Any cxecutory contracts or unexpired leases of any of the Debtors that (a) are not

listed on Exhibits 2 or 3 to the Plan; (b) have not been approved by Final Order of the

Bankruptcy Court prior to the Confilmation Date for assumption and assignment by any of the

Debtors or rejection by any of the Debtors; and (c) are not the subject of pending motions to

assume on the Confinnation Dale shall be deemed to have been rejected by the Debtors as of the

Effective Date.

            PP.        The Plan shall constitute a motion to reject all such executory contracts and

unexpired leases, and the Debtors shall have no liability thereunder except as is specifically

provided in the Plan. The entry of this Order shall constitute approval of such rejections pursuant

to section 365(a) of the Bankruptcy Code and a finding by the Bankruptcy Court that each such

rejected execlltory contract or unexpired lease is burdensome and that the rejection thereof is in

the best interest of the Debtors, their estates, and all parties in interest in the Chapter 11 Cases.

                       9.     The Plan Satisfies Section
                              1123(b)(3) of the Bankruptcy Code

            QQ.        Section l 123(b)(3) of the Bankrnptcy Code requires that settlements

accomplished under a chapter 11 plan he fair and reasonable. 1n this case, the Plan provides for a

compromise and settlement of certain Causes of Action, including as set forth in the Plan

Settlement in Section 7.4 of the Plan. The Court finds that the compromises and settlements

provided in the Plan arc fair and reasonable and in the best interests of the Debtors, their Estates

and creditors. Accordingly, section I 123(b) of the Bankruptcy Code is satisfied.




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                       10.    The Transfers of Properties Under the Plan
                              Are Governed by the Exemptions Provided
                              in Section 1146(c) of the Bankruptcy Code

           RR.         Pursuant to Section 7.16 oftl1e Plan, all Causes of Action assertable by any of the

Debtors or their Estates shall be retained by, and vested in the Litigation Trust upon the

occurrence of the Effective Date. Further, pursuant to Sections 7.1 0(I), 7.11 and 13.6 of the Plan,

title to all of the Assets (other than the TT Environmental Liquidating Trust Assets) shall vest in

the Litigation Trnst. Pursuant to Section 7. I 0(II) of the Plan, title to all of the IT Environmental

Liquidating Trust Assets shall vest in the TT Environmental Liquidating Trust. Such transfers are

expressly contemplated by, and in furtherance of, the Plan.

           SS.         In accordance with section 1146( c) of the Bankruptcy Code, the transfer or vesting

of any personal or real (tangible or intangible) property of the Debtors in accordance with the

Plan and this Order (including, without limitation, the transfer of the Causes of Action and

Assets to the Litigation Trust and any other transfers or vesting of assets described in (or

contemplated by) the Plan and/or this Order) is not subject to taxation under any state or local

law imposing a stamp, transfer or similar tax.

V.         THE PLAN PROPONENTS HAVE SATISFIED SECTION 1129(a)(2) OF THE
           BANKRUPTCY CODE

            TT.        The Plan Proponents have complied with all of the provisions of the Bankruptcy

Code and the Bankruptcy Rules governing notice, disclosure and solicitation in connection with

the Plan, the Disclosure Statement, and the exhibits thereto and all other matters considered hy

this Court in connection with these Chapter 11 Cases. The Debtors have timely lilcd with the

Clerk of the Court their Schedules. Good, sufficient and timely notice of the Hearing and all

other hearings in these Chapter 11 Cases have been given to all holders of Claims and Equity

Interests and all other parties in interest to whom notice was required to have been given.


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             UU.               The Plan Proponents have properly solicited votes with respect to the Plan in good

faith and in compliance with the applicable provisions of the Bankruptcy Code and the

Bankruptcy Rules, as well as the Approval Order. All of the Ballots were properly solicited and

tabulated in accordance with the Approval Order. Accordingly, the Plan Proponents have

satisfied section l 129(a)(2) of the Bankruptcy Code.

VL           THE PLAN SATISF1ES THE REQUIREMENTS OF SECTION 1129{a)(3) OF
             THE BANKRUPTCY CODE

             VV.               This Court has examined the totality orthe circumstances smTOunding the

fomrnlation of the Plan and the Plan Settlement. The Plan and the Plan Settlement arc based on

extensive arms' length negotiations between and anwng the Debtors, the Committee, the Agent

(on behalf of the Prepetition Lenders) and certain other parties in interest. The Plan and the

Disclosure Statement reflect the culmination of such efforts and the substantial input of each

representative group. Additionally, as evidenced by the overwhelming acceptance of the Plan by

the holders of Non-Lender Secured Claims in Class 2, Lender Claims in Class 3, and the

Debtors' unsecured creditors in Classes 4A and 4B of tl1e Plan as reflected in the Logan

Affidavit, the Plan achieves the goals embodied in the Bankruptcy Code. Further, the

exculpations and injunctions provided in the Plan, have been negotiated and agreed to by the

Debtors, the Committee and the Agent (on behalf of the Prepelition Lenders) in good faith and

are consistent with sections 105, 1129 and 1142 of the Bankruptcy Code. Thus, the Plan has

been proposed in "good faith and not by any means forbidden by law" as required by section

1129(a)(3) of the Bankruptcy Code.




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VIL           THE PLAN SATISI•'IES THE REQUIREMENTS OF SECTION l l 29(a)(4) OF
              THE BANKRUPTCY CODE

              WW. All payments to be made to professional persons retained by the Plan Proponents

pursuant to an order of the Court will be, as set forth in Sections 5.l(b) of the Plan, subject to

review and approval by this COLtrt upon final application under sections 330, 331 or 503(b) of the

Bankruptcy Code. Accordingly, the Plan satisfies section l 129(a)(4) of the Bankruptcy Code.

VIII.         THE PLAN SATTSFlES THE REQUIREMENTS OF SECTION 1129(a)(S) OF
              TUE BANKRUPTCY CODE

              XX.          The Plan Proponents have disclosed that AlixParlners will serve, on the Effective

Dale of the Plan, as Litigation Trust Trustee and carry out the respective duties and obligations of

the Plan Administrator and Chief Litigation Officer under the Plan. ln accordance with the Plan,

the Litigation Trust Trustee shall act as the Disbursing Agent wilh respect to Distributions under

the Plan. Accordingly, the Plan satisfies section l l 29(a)(5) of the Bankruptcy Code.

IX.           SECTION 1129(a)(6) OF THE BANKRUPTCY CODE IS NOT APPLICABLE TO
              THE PLAN

              YY.          The Plan does not provide for any changes in rates that require regulatory

approval of any governmental agency. Section J 129(a)(6) of the Bankruptcy Code is accordingly

not applicable.

X.            THE PLAN SATISFIES THE REQUIREMENTS OF SECTION 1129(a)(7) OF
              THE BANKRUPTCY CODE

              ZZ.          Based on the Liquidation Analysis prepared by AlixPartners, the Soose Testimony

and the Monger Testimony al lhe Hearing, each holder of an impaired Claim in Classes 2, 3, 4A

and 4B of the Plan that has not accepted the Plan will receive or retain under the Plan on account

of such Claim property of a value, as of the Effective Date, that is not less than the amount that

such holder would receive or retain if the Debtors were liquidated under chapter 7 of the



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Bankruptcy Code. The holders of claims in Classes 4C (Securities Litigation Claims), 4D

(Subordinated Claims), and 5 (Equity Interests), who shall not receive or retain any property

under the Plan, and are, therefore, deemed to have rejected the Plan, would receive no

distribution if the Debtors were liquidated under chapter 7 of the Bankruptcy Code. Thus, the

Plan satisfies the "best interest" test under section l 129(a)(7) of the Bankruptcy Code.

XI.         SECTION 1129(a)(8) OF THE BANKRUPTCY CODE

            AAA. Although the Plan does not comply with section 1129(a)(8) of the Bankruptcy

Code because Classes 4C, 4D and 5 arc deemed to have rejected the Plan, the Plan can be

confirmed pursuant lo the "cramdown" provisions of section l 129(b) of the Bankruptcy Code.

XII.        THE PLAN SATISFIES THE REQUIREMENTS OF SECTION 1129(a)(9) OF
            THR BANKRUPTCY CODE

            BBB. Section 5.1 (d) or the Plan provides that, on the applicable Distribution Date, each

holder of an Allowed Administrative Claim shall receive (i) the amount of such holder's Allowed

Claim in one Cash payment, or (ii) such other treatment as may be agreed upon in writing by the

Litigation Trust Trustee and such holder; provided, that an Administrative Claim representing a

liability incurred in the ordinary course of business of the Debtors may be paid at the Litigation

Trust Trustee's election in the ordinary course of business. Section 4.l(a) of the Plan provides

that each holder of an Allowed Priority Claim shall either be paid in full in Cash on the Effective

Date or all of the legal, equitable and contractual rights of such holder in respect of such Allowed

Priority Claim shall be fully reinstated and retained and the holder of such Allowed Priority

Claim shall be paid in full in accordance with such reinstated rights. Section 5.2 of the Plan

provides for the payment in full of all Allowed Tax Claims as required by section 1 l29(a)(9)(C)

of the Bankruptcy Code.




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            CCC. Accordingly, the Plan satisfies the requirements of section I 129(a)(9) of the

Bankruptcy Code.

XIII.       THE PLAN SATISFIES THE REQUIREMENTS OF SECTION 1129(a)(10) OF
            THE BANKRUPTCY CODE

            ODD. The Plan satisfies section l 129(a)(IO) of the Bankruptcy Code because each of

Classes 3, 4A and 4B which arc impaired classes, have voted to accept the Plan by the requisite

majority, determined without including any acceptance of the Plan by insiders.

XIV.        THE PLAN SATISFIES THE REOUIRRMRNTS OF SECTION 1129(a)(11) OP
            THE BANKRUPTCY COOR

             EEE.              The Plan Proponents and their respective professional persons have analyzed the

ability of the Debtors to meet their obligations under the Plan. Based on the Liquidation

Analysis prepared by AlixPartners, the Soose Testimony and the Monger Testimony al the

Hearing, there is a reasonable likelihood that the Debtors will be able lo make all payments

required pursuant to the Plan. Therefore, the Plan satisfies the feasibility requirement of section

l 129(a)(i I) of the Bankruptcy Code.

XV.          THE PLAN SATISF'IES THE REQUIREMENTS OF SECTION 1129(a)(l2) OF
             THE BANKRUPTCY CODE

             FFF.              Section 13.1 of the Plan provides that the Debtors shall pay on the Effective Date

(or as soon as practicable thereafter) all Statutory Fees accrued through and including the

Effective Date, and all such Statuto1y Fees accrued afler the Effective Date shall be paid by the

Litigation Trust in the ordinary course of business. Accordingly, the Plan satisfies section

1129(a)(12) of the Bankruptcy Code.




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XVI.        THE PLAN SATISFIES THE REQUIREMENTS OF SECTION 1129(a)(13) OF
            THE BANKRUPTCY CODE

            GG-G. The Debtors do not provide any "retiree benefits." Accordingly, the Plan satisfies

section l 129(a)(13) of the Bankruptcy Code.

XVII. SECTION 1129(b) OF THE BANKRUPTCY CODE IS SATISFIED

            HHH. Class 2C (Conestoga-Rovers) and Class 2L (Richard Myszka) rejected the Plan,

and Classes 4C (Securities Litigation Claims), 4D (Subordinated Claims) and 5 (Equity Interests)

are deemed to have rejected the Plan. The Court finds that the Plan docs not "discriminate

unfairly" and that the treatment accorded such Claims under the Plan is "fair and equitable" as to

each impaired Class that did not accept the Plan. The Equity Interests in Class 5 comprise all

Equity Interests in IT Group. There arc no classes of similarly situated Equity Interests that are

receiving a Distribution under the Plan. No class of Claims is receiving more than 100% or the

Allowed amount of their Claims. Moreover, because no class junior to Class 5 exists, no holder

of a Claim or Equity Interest that is junior to such non-accepting class will receive or retain any

property under the Plan. Therefore, the Plan satisfies the "absolute priority rule" of section

1I 29(b) of the Bankruptcy Code.

            lli.        Based on the foregoing, the Plan satisfies the "cram down" requirements of

section 1129(b) of the Bankruptcy Code as to Classes 2C, 2L, 4C, 4D and 5.

II.         CONCLUSIONS OF LAW:

             I.         The Plan is hereby confimied.

            2.          The record of the Hearing is hereby closed.

             3.         The Effective Dale of the Plan shall occur on the date selected by the Plan

Proponents (with the consent of the Agent) which is no later than thirty (30) days after all of the




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conditions set forth in Section 9.2 of the Plan shall have been satisfied or, if applicable, shall

have been waived in accordance with Article IX of the Plan.

           4.          The Confimiation Date shall be the record date for purposes of determining the

holders or Allowed Claims that are entitled to Dishibutions that arc required to be made under

the Plan.

            5.         Upon the occurrence of the Effective Date, the Plan shall be binding upon and

inure to the benefit of the Debtors and their respective successors and assigns, the holders or

Claims and Equity Interests and their respective successors and assigns (whether or not they

voted to accept the Plan, whe!her or not they arc impaired under the Plan, and whether or not any

such holder has filed, or is deemed lo have filed a proof of Claim or proof of Equity Interest), and

any other Person giving, acquiring, or receiving property under the Plan. The rights afforded in

the Plan and the treatment of all Claims and Equity Interests therein shall be in exchange for and

in complete satisfaction of all Claims and Equity Interests of any nature whatsoever, known or

unknown, including any interest accrned on or expenses incurred in connection with such Claims

from and after the Petition Date, against the Debtors, their Affiliates or their respective estates,

Assets, properties or interests in property. Except as otherwise provided in the Plan, (i) on the

Effective Date, all such Claims against, and Equity Interests in, the Debtors shall be deemed

satisfied in full, by the consideration, if any, provided for in the Plan, and (ii) all Persons and

entities shall he precluded from asserting against the Debtors, the Litigation Trust, the Litigation

Trust Trustee, the IT Environmental Liquidating Trust, the IT Environmental Liquidating

Trustee, or their respective successors, assets or properties any such Claims or Equity Interests or

any other or further Claims or Equity Interests arising on or before lhe Effective Date.




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              6.           The Litigation Trnst shall not be responsible for any obligations of the Debtors

except those obligations expressly set forth in lhe Plan, the Plan Documents or this Order.

Except as otherwise expressly provided in the Plan, all Persons or entities who have held, hold,

or may hold Claims or Equity Interests shall be precluded and forever barred from asserting

against the Debtors, the Litigation Tmst, the Litigation Trust Trustee, the IT Environmental

Liquidating Trust, the IT Environmental Liquidating Trustee or their respective successors or

assigns, or their assets, prope1ties, or interests in property any such Claims or Equity Interests or

any other or further Claims or Equity Interests arising on or before the Effective Date.

              7_           This Order shall be binding upon and govern the acts of all Persons and entities,

including, without limitation, all filing agents, filing officers, title agents, title companies,

recorders of mortgages, recorders of deeds, registrars of deeds, administrative agencies,

governmental departments, secretaries of slate, federal and local officials, and all other persons

and entities who may be required by operation of law, the duties of their office, or contract, to

accept, file, register, or otherwise record or release any documents or instruments, or who may be

required to report or insure any title or state of title in or to any of the Assets.

              8.           All liens, Claims, interests, and encumbrances of record shall, upon the Effective

Date, be removed and stricken as against the Assets, and all the entities described in the

immediately preceding paragraph of this Order are authorized and specifically directed to

(a) strike all recorded liens, Claims, interests, or encumbrances against the Assets from their

records, official and otherwise, and (b) in accordance with section 1146(c) of the Bankmptcy

Code, accept for filing or recording all instruments made or delivered and all deeds or other

documents relating to the conveyance of any of the Assets without the payment of any recording

tax, stamp tax, translcr tax, or any similar lax (other than income taxes) or any transfer or


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recording fee or similar costs incurred or assessed by any federal, state, local, or foreign taxing

authority (including interest and penalties, if any) and without the presentation of any affidavits,

instruments, or returns otherwise required for recording, other than this Order, and the Court

retains jurisdiction to enforce the foregoing direction, by contempt or otherwise.

             9.          In accordance with section 1141(h) of the Bankruptcy Code and Sections 7.10,

7.11 and 13.6 of the Plan, the Assets (other than the IT Environmental Liquidating Trust Assets)

shall vest in the Litigation Trust on the Effective Date free and clear of all Claims, Equity

Interests, liens, security interests, encumbrances and other interests.

             10.         In accordance with section 1142 ofthc Bankruptcy Code, upon entry of this Order

(and subject to the occurrence of the Effective Date), the Debtors, acting by and through their

officers, employees and agents, shall be authorized, without any requirement of further action by

the stockholders or directors of the Debtors, to take any and all actions necessary or appropriate

to implement the Plan.

             11.         The provisions in Section 7.20 through 7.32 and Article Vlll of the Plan

governing Distributions, reserves, and the procedures for resolving and treating Contested Claims

under the Plan are hereby approved and found to be fair and reasonable.

              12.        Except as otherwise expressly provided in the Plan, all Causes of Action

assertable by any of the Debtors or their Estates, successors or assigns, including but not limited

to (i) the Causes of Action listed on Exhibit I to the Plan, (ii) Avoidancc Actions and Estate

Causes of Action and (iii) those Causes of Action hereinafter arising or discovered, regardless of

when the facts giving rise to such Causes of Action arose or existed, shall be retained by, and

vested in, the Litigation Trust. As of the Effective Date, the Litigation Trust Trustee in his

capacity as Chief Litigation Officer and the Plan Administrator, respectively, shall be appointed


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lo prosecute the A voidancc Actions and the Estate Causes of Action, all as con temp lated by the

Plan.

            13.        Effective as of and subject to the occurrence of the Effective Date, pursuant to

sections 365(a) and l 123(b)(2) of the Bankruptcy Code, entry of this Order shall constitute

approval of the assumption or rejection, as provided in Article XI of the Plan and as set forth in

Paragraphs NN, 00 and PP hereof; of all executory contracts and unexpired leases of the

Debtors not previously assumed or rejected, except for executory contracts and unexpired leases

that are the subject of a motion to reject, assume or assign pending before the Court on the

Confirmation Date.

            14.        Claims created by the rejection of executory contracts or unexpired leases or the

expiration or termination of any executory contract or unexpired lease prior to the Confirmation

Date must he ltled with this Court and served on the Debtors and the Litigation Trust Trustee, (a)

in the case of an executory contract or unexpired lease rejected by the Debtors prior to the

Confimiation Dale, in accordance with the later of the Bar Date Order or thirty (30) days after the

date of the order of the Bankruptcy Court authorizing and approving such rejection, or (b) in the

case of an executory contract or unexpired lease that (i) was tem1inated or expired by its terms

prior to the Confirmation Date, or (ii) is deemed rejected pursuant to Section 11.2 of the Plan, no

later than thirty (30) days aller the Confinnation Date, or (c) in the case or an exccutory contract

or unexpired lease that is rejected hy the Debtors after the Confimiation Date, within thirty (30)

days after the date of the order of the Bankruptcy Comt authorizing and approving such rejection.

Any Claims for which a proof of claim is not filed and served within such time will be forever

barred from assertion and shall not he enforceable against the Debtors, Reorganized IT Group,

the Litigation Trust, or their respective estates, assets, properties, or interests in property. Unless



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otherwise ordered by this Court, all such Claims that are timely filed as provided herein shall be

treated as General Unsecured Claims under the Plan subject to objection as provided in the Plan.

           15.         ln accordance with section 105 of the Bankruptcy Code, the provisions oflhe Plan

governing release, injunction, exculpation and indemnification obligations are hereby approved

in all respects.

            I 6.       None of the Plan Proponents, the Agent, the Prepelition Lenders, the Disbursing

Agent or any of their respective members, officers, directors, employees, attorneys, advisors,

professionals, consultants or agents shall have or incur any liability to any Person for any act or

omission in connection with, related to, or arising out of, the Chapter 11 Cases, including,

without limitation, the commencement of the Chapter 11 Cases, the negotiation of the Plan, the

pursuit of confirmation (Jfthc Plan, the consummation of the Plan, or the administration of the

Plan or the property to be distributed under the Plan, except for willful miscondnct or gross

negligence as determined by Final Order of the Bankruptcy Court, and in all respects shall be

entitled to rely upon the advice of counsel and all information provided by other exculpated

persons herein without any duty to investigate the veracity or accuracy of such information with

respect to their duties and responsibilities under, or in connection with, the Plan.

Notwithstanding the foregoing and Section 13.5 of the Plan, such exculpation provisions shall

not apply to any action before the Bankmptcy Court by Shaw against Committee counsel

pursuant to Bankrnptcy Rule 9011.

            17.        Except as otherwise expressly provided in the Plan, all Persons or entities who

have held, hold, or may hold Claims or Equity Interests arc permanently enjoined, from and after

the Effective Date, from (a) commencing or continuing in any manner any action or other

proceeding of any kind on any such Claim or Equity Interest against any of the Debtors, their


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Estates, Reorganized TT Group, the IT Environmental Liquidating Trust, the IT Environmental

Liquidating Trustee, the Litigation Tmst, the Litigation Trust Trustee, or the Assets, or against

the property or interests in property of any of the Debtors, their Estates, Reorganized TT Group,

the lT Environmental Liquidating Trust or the Litigation Tmst, (b) the enforcement, attachment,

collection or recovery by any manner or means of any Claims and/(ir Equity Interests, or any

judgment, award, decree or order with respect to any Claims and/or Equity Interests, against any

ofthe Debtors, their Estates, Reorganized 1T Group, the IT Environmental Liquidating Trust, the

IT Environmental Liquidating Trustee, the Litigation Trust, the Litigation Trust Trustee, or the

Assets, or against the proper! y or interests in prope11y of any of the Debtors, their Estates,

Reorganized IT Group, the IT Environmental Liquidating Trust or the Litigation Trust, (c)

creating, perfecting, or en forcing any encumbrance of any kind against any of the Debtors, their

Estates, Reorganized lT Group, the TT Environmental Liquidating Trust, the 1T Environmental

Liquidating Trustee, the Litigation Trust, the Litigation Trust Trustee, or the Assets, or against

the property or interests in property of any of the Debtors, their Estates, Reorganized IT Group,

the TT Environmental Liquidating Trust or the Litigation Trust, and (d) asserting any right o ~

~ subrogation                  of any kind against any obligation due from any Debtor or against the property

or interests in property of any Debtor, with respect to any such Claims or Equity Interests;

provided however, that the foregoing shall not affect the rights of a party that were obtained

pmsuant to a Final Order of the Bankruptcy Court granting limited relief from the automatic slay

under section 362(d) of the Bankruptcy Code. Nothing in the preceding sentence or Section

13.19 of the Plan shall enjoin the exercise of any police or regulatory power by a United States

environmental governmental unit, a California state environmental governmental unit or a New




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Jersey state environmental governmental unit with respect to any envirolllllcntal Claim that arises

after the Effective Date.

              18.          Nothing in the Plan or Confim1ation Order shall impair the valid setoffrights, if

any, of a holder of an Allowed Non-Lender Secured Claim. Nothing in the Plan or the

Confinnation Order shall extinguish or enjoin any valid rights of setoff, and the rights of the

Debtors and parties asserting setoff rights are preserved.

              19.          Notwithstanding any language to the contrary contained in the Disclosure

Statement, Plan, and/or this Order, no provision thereof shall release any non-debtor, including

any current or former officer and/or director of the Debtors, from any liability to the SEC in

connection with any civil action brought by such governmental unit against such Person(s).

              20.          Notwithstanding paragraph 17 of this Order and Section 13.19 of the Plan, the

Claims of PPG shall be detem1ined in the action styled Envirocraft Corporation v. PPG

Industries, Tnc. et al., Case No. 03-CVA55-JJF, pending hefore the United States District Court

for the District of Delaware in accordance with the Court's prior order in these Chapter 11 Cases

Ii fling the automatic stay of section 362 of the Bankmptey Code with respect lo such Claims.

When such Claims arc finally liquidated, they shall he treated under the Plan.

              21.          The Debtors shall either (a) have paid, priorto the Confirmation Date, (b) pay on

the Effective Date, or (c) segregate a sufficient am\rnnt upon entry of this Order to pay when

determined and due, all 2002 federal income taxes, if any, as shown on TT Group's consolidated

2002 federal income tax returns.

              22.          Allowed Tax Claims, if any, of the Texas Comptroller shall he paid upon the later

ofthe first Distribution Date or entry of an order of the Bankruptcy Court allowing such Tax

Claims.


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            23.        Notwithstanding anything to the contrary contained herein or in the Plan, the

Debtors' claims against Conestoga-Rovers shall not be sold or otherwise transferred free and

clear of Conestoga-Rover's Claims against the Debtors.

            24.        Notwithstanding anything to the contrary contained in the Plan and in accordance

with section 510(b) of the Bankruptcy Code, holders of Allowed Securities Litigation Claims in

respect of Equity Interests shall neither receive nor retain any property under the Plan on account

of such Claims unless all other Allowed Claims (including Allowed Securities Litigation Claims

in respect of debt securities of the Debtors) have been paid in full.

            25.        The Litigation Trust Trustee shall treat the Contested Unsecured Claims Reserve

and not the holder of a Unsecured Litigation Claim as a grantor or beneficiary of the Litigation

Trust until such date as such holder's Litigation Unsecured Claim becomes an Allowed Claim.

            26.        Pursuant to section 1146(c) of the Bankruptcy Code and the Plan, the issuance,

transfer, or exchange of notes or equity securities under the Plan, the creation of any mortgage,

deed of trust, or other security interest, the making or assignment of any lease or sublease, or the

making or delivery of any deed or other instrument of transfer under, in furtherance of, or in

connection with the Plan, including, without express or implied limitation, asset sales that have

occurred during these Chapter 11 Cases, shall not he subject to any stamp, real estate transfer,

mortgage recording, or other similar tax. All filing and recording oOicers arc hereby directed to

accept for filing or recording all instruments of transfer to be filed and/or recorded, without the

payment of any such taxes.

            27.        All entities holding Claims against or Equity Interests in the Debtors that are

treated under the Plan are hereby directed to execute, deliver, file or record any document, and to

take any action necessary to implement, consummate and otherwise effect the Plan in accordance


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with its tem1s, and all such entities shall be bound hy the lenns and provisions of all documents,

including without limitation the Plan Documents, executed and delivered by them in com1cction

with the Plan.

            28.         Tn accordance with section 1142 of the Bankruptcy Code, the Litigation Trust

Trustee, the Disbursing Agent and any other entity designated pursuant to the Plan are hereby

authorized and empowered to issue, execute, deliver, file and record any document, and to take

any other action necessary or appropriate to implement, consummate and otherwise effectuate the

Plan in accordance with its tcnns, and all such entities shall be bound by the terms and provisions

of all documents, including without limitation, the Plan Documents issued, executed and

delivered by them as necessary or appropriate to implement or effectuate the Plan.

            29.         The Plan Proponents (with the consent of the Agent) arc hereby authorized to

amend or modify the Plan in accordance with section 1127 of the Bankruptcy Code and Section

13 .15 of the Plan.

            30.         Any person or entity seeking an allowance of final compensation or

reimbursement of expenses for professional services rendered to the Debtors or the Committee or

in relation to these Chapter 11 Cases pursuant lo sections 327, 328, 330, 331, 503(b) and 1103 of

the Bankruptcy Code shall file and serve an application for allowance of final compensation for

services rendered and reimbursement of related expenses incurred (each, an "Application") not

later than sixty (60) days after the Em,ctive Date (or such later date, if any, as may be established

by further order of the Court). All Applications shall cover all services rendered through the

Effective Date.

             31.        Each Application shall comply with the applicable provisions of the Bankruptcy

Code, the Bankruptcy Rules and the Local Bankruptcy Rules, and shall set forth, among other


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things, in reasonable detail: (i) the name and address oflhe applicant; (ii) the nature of the

professional or other services rendered and related expenses for which allowance is requested;

(iii) the amount of compensation and reimbursement of expenses requested; (iv) whether any

payments have been received on account and, if so, the amount or amounts thereof; (v) the

amount of any success fee or premium requested and the basis therefor; and (vi) the amounts of

compensation and reimbursement of expenses previously allowed by the Court, if any.

             32.          From and after the Effective Date, the Litigation Trust and the Disbursing Agent

may retain and pay professionals in the ordinary course of business without the need for filing

retention applications and fee applications. The Court retains jurisdiction to adjudicate any

dispute concerning the payment of any such fees or expenses.

             33.          All professional lees and expenses incurred by the Litigation Trust and the

Disbursing Agent from and atler the Effective Date in connection with the consummation and

implementation of the Plan shall he paid by the Litigation Trust and Disbursing Agent in the

ordinary course of business without further order of the Bankruptcy Court. The Court shall retain

jLtrisdiction over all such parties in the event of any dispute over the amount of any such fees and

expenses.

              34.         All foes payable pursuant lo section 1930 oftitle 28, United States Code, as

detennined by the Court, shall be paid on the Effective Date or as soon as practicable thereatler.

Aller the Effective Date and until these Chapter l l Cases are closed, the Disbursing Agent shall

(i) submit to the Office of the United States Trustee quarterly reports as may be required,

including with respect to fees payable pursuant to section 1930 of title 28, United States Code,

and (ii) pay any and all such fees as they become due.




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           35.         All Objections to confirmation of the Plan either have been withdrawn prior to the

entry of this Order, have been adequately addressed by the provisions hereof or have heen

overruled. All withdrawn objections are hereby deemed withdrawn with prejudice.

           36.         Within fifteen (15) days after the entry date of this Order, or within such further

time as this Court may allow, the Plan Proponents are hereby directed to mail to all known

holders of Claims and Equity Interests, other parties who have requested notice in these cases and

all professionals retained pursuant to an order of this Court, a notice of the entry of this Order,

which notice shall set forth any deadlines established by this Order or the Plan.

           37.         Based upon the record of the Hearing, substantive consolidation of the Debtors to

the extent provided in Section 7.1 of the Plan is hereby approved.

           38.         The Plan Settlement is hereby approved and the parties are authorized to lake all

actions that are necessary or appropriate to implement and give effect to the Plan Settlement,

subject to the occurrence of the Effective Dale.

            39.        Tn the event of any inconsistency between the Plan, or any agreement, instrument

or document implementing the Plan, and this Order, the provisions of this Order shall govern.

            40.        The provisions of this Order are integrated with each other and arc non-severable

and mutually dependent.

            41.        The failure to specifically include anypartieular provision oftbe Plan in this

Order shall not in any way diminish or impair the efficacy or enforceability of such provision, it

being understood that it is the intent of this Court that the Plan be confirmed and approved in its

entirety.

            42.        Each finding of fact set forth herein, to the extent it is or may be deemed to be a

conclusion of law, shall also constitute a conclusion oflaw. Each conclusion oflaw set forth


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herein, to the extent it is or may be deemed lo he a finding of fact, shall also constitute a finding

or fact.
Dated: April          2004      L   ,
       Wilmington, Delaware



                                               Honorable Ma F. Walrath
                                               Chief United States Bankruptcy Judge




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           EXHIBIT D
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XAVIER BECERRA                                                                State of California
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                                                                                      Facsimile: (510) 622-2270
                                                                             E-Mail: Andrew.Wiener@doj.ca.gov

                                           December 28, 2020


      Peter Weiner
      55 2nd Street
      Twenty-Fourth Floor
      San Francisco, CA 94105
      By Email: PeterWeiner@paulhastings.com

      RE:    IT Environmental Liquidating Trust


      Dear Mr. Weiner:

              I write to you on behalf of the California Department of Toxic Substances Control
      ("DTSC''), concerning the replacement of Sunil Kishnani as Trustee of the IT Environmental
      Liquidating Trust (Trust). Section 3.4 of the Trust Agreement provides that the Trust shall be
      subject to the jurisdiction of the United States District Court for the Northern District of
      California. DTSC understands, however, that Mr. Kishnani’s sudden passing necessitates
      seeking approval of his replacement by the Delaware Bankruptcy Court. Under the
      circumstances, and without waiving any rights under the Trust Agreement or its Eleventh
      Amendment immunity, DTSC has no objection to the Trust filing a motion to replace the Trustee
      in the Delaware Bankruptcy Court.

             Furthermore, DTSC has reviewed the qualifications of Rick Swanson. DTSC
      recommends Mr. Swanson for the position of interim trustee to minimize any gap in coverage
      while DTSC considers a permanent replacement for the position.

                                                  Sincerely,

                                                  /s/ Andrew Wiener

                                                  ANDREW WIENER
                                                  Deputy Attorney General

                                          For     XAVIER BECERRA
                                                  Attorney General

      AW:
